           Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 1 of 94 Page ID #:5



                                                                                                                                                         SUM 100
     Copy                                                                                                                                                         -




                                       SUivIMONS                                                                            FOR COURT USE ONLY
                                                                                                                        (SOLO PARA USO DE LA CORM)
                                   (CITACION JUDICIAL)
 NOTICE TO DEFENDANT: SIERRA NETWORK, INC., a corporation; AL
 (AVISO AL DEMANDADO): FAKHER HOLDING TOBACCO AND TRADING
 CO., a business of unknown form; AL FAKEER HOLDING USA, INC,, a                                                   CONFORMED COPY
                                                                                                                               ■
                                                                                                                      ORIG NAL 51LE0
                                                                                                                                        Cot
 California corporation; PIONEER VENTURE GROUP, LTD., a company limited                                            SUpeflOr C.aclf tg. A.Y19,7gt;:9-
                                                                                                                     COUMY (ft t.1)
 Additional Parties Attachment form is attached.
 YOU ARE BEING SUED BY PLAINTIFF: DAVID HANNA, an individual
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                     NOV 2 9 2013
                                                                                                            Sherri R. Carter, Executive Officer/Cie
                                                                                                                                      Deputy
                                                                                                                    By
  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  sewed on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There. may be a court form that you can use for your response. You can find these court forms and more Information at the California Courts
  Online Self-Help Center (www.courtinfosa.govisellhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, arid your wages, money, and property
  may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call art attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcafifomia.org), the California Courts Online Self-Help Center
  (www.courfinfo.ca.govisetnnalp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
 IMAS01 Lo hen demanded°. Si no responde dentro de 30 dies, la code puede deddir en su contra sin escuchar su versien. Lea la Informacifin a
 confinuacion.
     liens 30 DJ/1S DE CALENDARIO despues de quo le entieguen este clteden ypepeles legates pare presenter une respueste pot emit° en este
 carte y hacer qua se entregue una copier al demandante. Una carte o aria Hamada telefonice no to protegen. Su respuesta pot indite fiene quo ester
 en formate legal correct° $i desea quo procesen su case en la carte. Es posible quo haya un formulafio que usted puede user pare su respuesta.
 Puede encontrar estos formularios de la code y ms Informacien en el Centro de Ayuda de las Cartes de California (www.sueorte.ca.gov), en Is
 blbiloteca de !eyes de su condado o en la code que le quede mds cerca. Si no puede pager la cuota de presentean, pida al secreted° de Is code
 qua to de an formulado de exenclon de pago de cuotas. Si no presenta su respuesta a (tempo, puede perder of case porincumplimiento yM corfe lo
 podril gutter su sueldo, diner° y bienes sin m6s advertencfa.
    Hay ofros requisites legates. Es recomendable quo llama a un abogado Inmediatamente. Si no conoce a un abogado. puede Hamar a un servido de
 remisiOn a abogados. Si no puede pager a un abogado, as pos./hie quo cumpla con los requisites pare °Mailer serviclos legates wahines do un
 programa de servicios legates sin fines de lucre. Puede encontrar estos grupos sin fines de lucre en el sift° Web de California Legal Servites,
 Oww.lawhelpcalifornia.org), en el Centro de Ayuda de (as Codes de California. (ovww.surxmle.ca.gov) o poniOndose on contacto con ía code o el
 co/ogle de abogados locales. At/ISO: Por ley, fa code (lone derecho a reclamar les cuotas y los costes oxen (as porimponer en gravamen sabre
 cualquler recuperacidn de $10,000 6 mas de valor recibida medlante un acuordo o uric conceskfn de arbitrate en an caso de detach° dvil. Tiene qua
 pager el gravamen dole code antes de quote code puede desechar el case.
The name and address of the court is:                                                          CAS
 (El nombre y direccion de In code es):
 Superior Court of California, County of Los Angeles                                                              HI 0106896
 111 North Hill Street
Los Angeles, California 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: Rodney S. Diggs, Esc. (SBN 274459)
(El nombre, Is direccion ye! Fulmer° de telefono del abogado del demandante. o del demandante quo no Wane abogado, es):
IVIE MCNEILL & WYATT
444 S. Flower Street, Suite 1800, LOS ANGELES, CA 90071                                                             13-48940028
 DATE:                                                                                                   Ago 0\1,_(              , Deputy
 (Feche)             NOV 2 9 2018             SHERRI   R. CARTER      Clerk by
                                                                      (Secretario)                                              (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form P08-010).)
(Para prueba de entrega de este citatiOn use of formulario Proof of Service of Summons, (P08 -010)).
                                      NOTICE TO THE PERSON SERVED: You are served
 [SEAL)
                                      1.71  as an individual defendant.
                                      2. r   ---,   as the person sued under the fictitious name of (specify):
                                                                        At Fakhar HMr/5       I    06A i tNe                                                          1

                                      3. ItZ        on behalf of (specify): a Cali' fc, i a co r-po raft() n
                                          under: Egip CCP 416.10 (corporation)                                      CCP 416.60 (minor)
                                                       CCP 416.20 (defunct corporation)                          I CCP 416.70 (conservatee)
                                                       CCP 416.40 (association or partnership)              ri     CCP 416.90 (authorized person)
                                                     ri
                                                     other (specify):
                                      4. 11 by personal delivery on (date):
                                                                                                                                                            Paqe1 oil
Form Adopted tor Mandatory Use                                          SUMMONS                                                    Code daya Procedure $5 41220, 465
  Judicial Council of California                                                                                                                 www.cottrfacken,gov
  SUM•100 Rev. July 1, 2009)                                                                                                                  Wevisw Doc& Forrn
            Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 2 of 94 Page ID #:6




                                                                                                                                  SUM-200(A)
     SHORT TITLE: Hanna v Sierra Network, Inc., et al                                              CASE NUMBER:



                                                                                                         laSTEN_Oe 696
                                                              INSTRUCTIONS FOR USE
     3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
        If this attachment is used. Insert the following statement In the plaintiff or defendant box on the summons: "Additional Parties
        Attachment form Is attached."

     List additional parties (Check only one box. Use a separate page for each type of party.);

       ••    Plaintiff              Defendant n Cross-Complainant             ni Cross-Defendant
    by shares; EMIL HAKIM, an individual; EHAB ATALLA, an individual; and DOES 1-250, inclusive




                                                                                                                     Page     1       of        1

                                                                                                                                           Page 1 of 1
 Form Adopted for Mandatory Us,
   Judtdal Coundl of California              ADDITIONAL PARTIES ATTACHMENT                                                    Vhstiaw Doc &Fara MAIN-

SUNI.200(A) (Rev. January 1.20071                      Attachment to Summons
            Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 3 of 94 Page ID #:7



                                                                                                                                                       SUM-100
      'Copy
                                            SUmMONS                                                                          FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO ON LA CORM
                                    (CITACION JUDICIAL)
   NOTICE TO DEFENDANT: SIERRA NETWORK, INC., a corporation; AL
  (AVISO AL DEMANDADO): FAICHER HOLDING TOBACCO AND TRADING
   CO., a business of unknown form; AL FAKHER HOLDING USA, INC„ a                                                   CONFORMED      COP Y
                                                                                                                      ORIGINAL ,F11...gp,n,
   California corporation; PIONEER VENTURE GROUP, LTD., a company limited                                           suReriOr courtto,s
                                                                                                                                    Cei
                                                                                                                               ot      Angur.
  Additional Parties Attachment form is attached.
  YOU ARE BEING SUED BY PLAINTIFF: DAVID HANNA, an individual
  (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                    NOV 29 2018
                                                                                                              Sherd R. Carter, Executive OffiCer/Clerk
                                                                                                                                       Deputy
                                                                                                                      By
    NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
    below.
      You have 30 CALENDAR . 13Avs after this summons and legal papers are served on you to fiie a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not prated you. Your Written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You, can find these court forms and more Information at the California Courts
   Online Self-Help Center (ifivw.cOur(infaxa.goviselfhetp), your county la* library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not Me your response on time, you may lose the case by default, and your wages, money, and properly
   may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcallfornla.org), the California Courts Online Self-Help Center
   (www.courfinfo.ca.govlselthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  tAVISOI Lo hen demanded°. SI no responde dentro de 30 dies, Is CORP puede deddir en su contra sin °smaller su version. Lea Is !demean a
   confinued6n.
     liens 30 DlAS DE CALENDAR10 despises de quo le entreguen este citacidn y papeles regales pare presenter una respuesta poresorlto en este
  Coffey hacer gee se entn3gue una copla al demandante. Una carte o ens Ramada telefanice no lo protegen. Su respuesta por emit° time quo ester
  en formate legal correct* si desea quo pro cesen su °es° en Is code. Es posit* quo hays en Tormulado qua usted puede user pare su respuesta.
  Puede encontrar estos formularios de la code y inas informaden en el Centro de Ayuda de las Cortes de California (www.sticorte.ca.gov), en la
  biblioteca de leyes de su condado o en la corte que Is quede rods cerca. Si no piled° pager la cuota de presentaclen, Oa al sects (ado do la code
  quo le de un formulario de exenciOn de pago de cuotas. Si no presents su respuesta a tiempo, puede polder el oaso porincumpirmiento y la aorta Is
  coda guitar su sueldo, dinero y Manes sin mds advertencia.
    Hay otros requisitos regales. Es recomendable quo flame a ern abogado inmedatamente. Si no conoce a en abagado. puede Namara un amid° de
  remisiOn a abogados. Si no puede pager a un abogado, es posible qua cumpla con los reqUisitospara oblenerservIcioS regales grattitas de un
  programs de serviclos regales sin fines de ludo. Puede encontrar estos grepos sin fines de ludo en el silk Web de California Legs f ServiCes,
  (www.lawhelpcalifornia.org), snot Centro de Ayuda de las Cortes de California, iwww.sucorle tca.gav) o ponlendose on contact° con Is corte o el
  cafe& de abogados locales. AVISO: Por ley. la carte 1/one derecho a recramarli3s cudas y los cedes exentos par importer uA gravamen sabre
  cualquier recupereclen de $10,000 6 mas de valor redbida medlante an acuerda a urge canoes/On de erbitraje en on case de detach° civIl. Tiene quo
  pager el gravamen de la code antes de quo Is code puede doses/rate! caso.
The name and address of the court is:
(El nombre y direccian dole code es):
Superior Court of California, County of Los Angeles                                                         qt1oT C1/06 13 96
II 1 North Hill Street
 Los Angeles, California 90012
 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: Rodney S. Diggs. Esq. (SBN 274459)
 (El nombre, is direcc(an ye! nfimero de telefono del abogado del demandante, ode! demandante qua no thane abogado, es):
IVIE MCNEILL & WYATT
444 S. Flower Street, Suite 1800, LOS ANGELES, CA 90071                                                                3±48910 028
 DATE:                                                                                                c_e                          , Deputy
 (Fecha)            NOV 29 2018                  SHERRI R. CARTER Clerk, bY
                                                                       (Secretarlo)                                                 (Adjunto)
(for proof of Service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrege de este citatiOn use el formulario Proof of Service of Summons, (POS-010)).
                                   NOTICE TO THE PERSON SERVED: You are served
  (SEAL)
                                   1. I-1 as an Individual defendant.
                                   2.        as the person sued under the fictitious name of (specify):
                                                                             51 rra 1.1 at-lAtor / lic
                                       3.MI       on behalf of (specify,):   a co rpora-h
                                           under:   N.3 CCP 416.10 (corporation)               r---1 CCP 418.60 (minor)
                                                    I-1 CCP 416.20 (defunct corporation)             CCP 416.70 (conservatee)
                                                    ED CCP 416.40 (assodation or partnership) I—I CCP 416.90 (authorized person)
                                                      3. other (specify):
                                      4.1•1 by personal delivery on (date):
                                                                                                                                                         p8osiafi
Form Adopted for Mandatory Use                                           SUMMONS                                                 Code dad Procedure gs 41220, 465
  Judicial Council of California                                                                                                                www.courdnfoRa.poy
 SUM•100 Say. July 1, 2009)                                                                                                               Wallow bat &F. arm Bolide -
            Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 4 of 94 Page ID #:8




                                                                                                                                SUM-200(A)
                                                                                                   CASE NUMBER:
       SHORT TITLE: Hanna v Sierra Network, Inc., et al




                                                             INSTRUCTIONS FOR USE
     ▪ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
     ▪ If this attachment Is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

      List additional parties (Check only one box. Use a separate page for each type of party.);

        ri Plaintiff                H Defendant I I Cross-Complainant         ri Cross-Defendant
    by shares; EMIL HAKIM, an individual; EHAB ATALLA, an individual; and DOES 1-250, inclusive




                                                                                                                    Page ,           of         I

                                                                                                                                          Page loft
 FM Adopted For Mandatory Use
  Judtdal Coundl of California                  ADDITIONAL PARTIES ATTACHMENT                                                Westtaw Doc S.Foonarlider-

SUM-200(A) /Rev. January 1, 2007]                      Attachment to Summons
                                                                                                                    •
             Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 5 of 94 Page ID #:9


                                                                                                                                                                     CM-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name,               r number, and address):                                                      FOR COURT USE ONLY
     Rodney S. Diggs, Esq. (SBN 274459)              SBN:                                                                             CONFORMED COPY
     IVIE MCNEILL & WYATT                                                                                                                oRicaNAL. FILED
                                                                                                                                      Superior (our t elliforofa
    444 S. Flower Street, Suite 1800, LOS ANGELES, CA 90071                                                                             County of Los AtIgofes
         TELEPHONE NO.; 213-489-0028              FAX No.:213-489-0552
   ATTORNEY FOR (NornaPPlai ntiff David Hanna                                                                                               NOV 29 2013
  SUPERIOR COURT OF CALIFORNIA, COUNTY oF LOS ANGELES
       STREET ADDRESS:1 11 North Hill Street                                                                                 Sherri R. Carter, Executive Officer/Clerk
       MAILING ADDRESS: Ill North Hill Street                                                                                                         Deputy
                                                                                                                                     By
      Girt AND ZIF CODE:Los Angeles, 90012
          lifIANOH NAME: Stanley Moak Courthouse
    CASE NAME: David Hanna v. Sierra Network, Inc., et al

                                                                                                                        CASE NUIMER
      CIVIL CASE COVER SHEET                                              Complex Case Designation
  1E11 Unlimited   I I Limited
                                                                    Fl       Counter        I Joinder                             1   V
          (Amount                         (Amount                                           I
                                                                                                                         JUDGE;
          demanded                        demanded Is              Filed with first appearance by defendant
          exceeds $25,000)                $25,000 or less)             (Cal. Rules of Court, rule 3.402)                  DEPT:

                                              Items 1-6 below must be completed (see instnictions on page 2).
 1. Check one box below for the case type that best describes this case:
      Auto Tort                                                  Contract                                      Provisionally Complex Civil Litigation
      El Auto (22)                                               1I Breach of contract/warranty (06)           (Cal. Rules of Court, rules 3.400-3.403)
      I I Uninsured motorist (46)                               El        Rule 3.740 collections (09)          C:=1 A ntitrust/Trade regulation (03)
      Other P1/PD/WI) (Personal Injury/Property                 Li       Other collections (09)                El Construction defect (10)
      Damage/Wrongful Death) Tort                               Li        Insurance coverage (15)              El Mass tort (40)
      El Asbestos (04)
      El
      1-1
            Product liability (24)
           Medical malpractice (45)
                                                                       Other contract (37)
                                                                 Real Property
                                                                I I    Eminent domain/Inverse
                                                                                                               H
                                                                                                               CI
                                                                                                                     Securities tillgation (28)
                                                                                                                    EnvIronmental/Toxic tort (30)
                                                                                                                        insurance coverage claims arising from the
         1 Other PI/PD/WD (23)                                         condemnation (14)                                above listed provisionally complex case
      Non-PIIPDAND (Other) Tort                                 Li     Wrongful eviction (33)                           types (41)
                                                                                                               Enforcement of Judgment
      El Business tort/unfair business practice (07) I I Other real property (26)
      El Civil rights (08)                            Unlawful Detainer                                        123 Enforcement of judgment (20)
      El    Defamation (13)                           I= Commercial (31)                                       Miscellaneous Civil Complaint
      El Fraud (16)                                             C1       Residential (32)                      1==I RICO (27)
      El intellectual properly (19)                             0 Drugs (38)                                   E-1 O ther complaint (not specified above)           (42)
      ED    Professional negligence (25)                        Judicial Review                                Miscellaneous Civil Petition
      CI    Other non-Pi/PO/WO tort (35)                        El Asset forfeiture (05)
      Employment                                                n        Petition re: arbitration award (11)
                                                                                                               ED Partnership and corporate governance (21)
                                                                                                               Li    Other petition (not specified above) (43)
            Wrongful termination (36)                           Ej Writ of mandate (02)
             Other employment (15)                              I 1 OtherIrdicial review (39)
2. This case n is            I X I is not complex under rule 3.400 of the California Rules of Court. If the case Is complex, mark the
   factors requiring exceptional judicial management:
   a. I I Large number of separately represented parties         d.F-1 Large number of witnesses
   b. I I Extensive motion practice raising difficult or novel   e. EZI Coordination with related actions pending In one or more courts
             Issues that will be time-consuming to resolve               In other counties, states, or countries, or in a federal court
   c.Ei Substantial amount of documentary evidence               f. ri Substantial postjudgment judicial supervision
3.    Remedies sought (check all that apply): a. 110 monetary b.EI nonmonetary; declaratory or Injunctive relief                                         C. I X 'punitive
4.    Number of causes of action (speci(y):Thirteen (13)
5.    This case El is                  n
                                   is not a class action suit.
6.    If there are any known related cases, file and serve a notice of related case.
Date: November 28, 2018
Rodney S, Diggs, Esq. (SRN 274452)
                                   (TYPE OR PRINT NAmEi
                                                                        NOTICE
  • Plaintiff must file this cover sheet with the first paper flied In the action or proceeding (except small claims cases or cases flied
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Courk.rule 3.220.) Failure to file may result
    In sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onV. wi
Form Adopted for Mandatory We                                   CIVIL CASE COVER SHEET                                      Cal. Ades ot court. min Man% 3.400-3•403, SAO:
  Judicial Council of California                                                                                                  Ca Standards of JudIclidAdminIsnalion, sW.3.10
  CM-010 'Roy- Jury 1,20073                                                                                                                                 www.marlinfoxa.gov
                                                                                                                                                   Wattlaw Doc Se Rum Sunder
             Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 6 of 94 Page ID #:10



                                                                                                                                       CM-010
                                     INSTRe.., flONS ON HOW TO COMPLETE THE Ct., • iR SHEET
  To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) In a civil case, you must
  complete and file, along with your first paper, the CiviPCase CoVer Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed, You must complete items 1 through 6 on the sheet. In Item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in Item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best Indicates the primary cause of action.
  To assist you In completing the sheet, examples of the cases that belong under each case type In item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 Is defined as an action for recovery of money
 owed In a sum stated to be certain that Is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time for service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
         -   -


 case will be subject to the requirements for service and obtaining a judgment In rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case Is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes In items 1 and 2. if a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder In the
 plaintiffs designation, a counter-designation that the case is not complex, or, If the plaintiff has made no designation, a designation that
 the case is complex.                                       CASE TYPES AND EXAMPLES
 Auto Tort                                         Contract                                         Provisionally Complex CH Litigation (Cal.
         Auto (22)-Personal Injury/Property           Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
             Damage/Wrongful Death                        Breach of 'Rental/Lease                         Antitrust/Trade Regulation (03)
         Uninsured Motorist (46) (if the                      Contract (not unlawful detainer             Construction Defeo/ (10)
             case involves an uninsured                            or wrongful eviction)                  Claiff1S.10VOIVirtg Mast Tort (40)
             motorisfelairrisubject to                    Contract/Warranty Breach-Seller                 Securities Litigation (28)
             arbitration, - check this item                    Plaintiff (not fraud or negligence)         environmeritaltroxicl'ort (30)
             insteae of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (personal Injury/                              Werra* .                                        (arising from provisionally complex
 Property Damage/Wrongful Death)                          011terBreach of Cohlrad/Warranty                     case type llstedebove) (41)
 Tort                                                 Collections (e:g., money owed. open             Enforcement of Judgment.
      Asbestos .(04)                                      book accotints) (09)                           Enforcement of Judgment (20)
          Asbettos Properly Damage                        .CollectiOn Cate-Seller Plairilift                 Abstract of Judgment (Out of
          Asbestos sPersonal Injury/                      Other PromiSsory Note/Colleclions                      County)
                Wrongful Death                                 Case                                          Con fession ol Judgment (non.
      Product Liability (riot as4estoS or             Insurance Coverage (not provisionally                         domestic relations)
          toiricearivhOlimentatt (24)                           ) (18)
                                                          complex                                              Sister Stale Judgment
      Medical Malpractice_ (45)                           Auto -Subrogation                                    Administrative Agency Award
          Medical Malniactice7                            Other Coverage                                           (not Unpaid Wee)
                Physicians A Surgeons                Other Centred (37)                                        Petition/Certlfidalion Of Entry of
          Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                    Malpractice                           OthereontreCt Dispute                               'Other Enforcement of Judgment
                                                  Real Property                                                     Case
      Other PI/PD/WD (23)
         Premises Liability (e.g., slip              Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                    arld.fato                             Condemnation (14)                              RICO (27)
             Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                               above) (42)
                  (e.g., assault, vandalism)         Other Real Property (e.g...auiel tille) (26)
             Intentional Infliction of                                                                        .00Clarettiry Relief Only
                                                         Writ of Possession Of Real Property                   Injunctive Relief Only (non-
                  Emotional Distress                     Mortgage Foreclosure
             Negligent Infliction of
                                                                                                                    harassment)
                                                         Quiet Title                                           Mechanics Lien
                  Emotional Distress                     Other Real Properly (not eminent
             Other PI/PD/WD                                                                                    Other Commercial Complaint
                                                          domain, landlord/tenant, or                              Case (flotptolthon complex)
                                                                                                                                          -
Non PI/PD/ND (Other) Tort
     -                                                    foreclosure)                                         Other Civil Complaint
      Business Tort/Unfair Business               Unlawful Detainer                                                (non fort/non complex)
                                                                                                                        -        -

        Practice (07)                                Commercial (31)                                  Miscellaneous Civil Petition
      OwitHights(e.g., ,disprimination,               Reeldentlat (32)                                     Partnership and Corporate
        lalSe arrest) (not-Civil                      Drugs (38) (if the Case invokes . i7legal                Governance (21)
         harassment) (00)                                 drags, checidtrisitem;.Othanivise,               Other Petition (not specified
      Defamation (kg., slander, libel)                    report as ConiMerclalor Residential)                 above) (43)
             (13)         -                       Judicial Review                                              Civil Harassment
     Fraud-(16)                                      ASSel FOrleiaire. -(00)                                   WOrkplace•lholerice
     intellectual PrOparty(19) _                     Petition fte:Arbitration Award (11)                       Elder/Dependent Adult
     Professional Negligence (26)                     Writottiandate (op)                                           Abuse
         Legal .041101:090                                Writ-Administrative Mandamus                         Election Contest
         Other-Prole:Wort& Mailpriotks                    Wni Vendaintii on Limited Court
                                                              -
                                                                                                               PMitiPif for Name Change
                 (net medical orlegal)                        Case Matter                                      Petition for Relief From Late
   Other Non-PI/PD/WD Tort (35)                           Writ-Other Limited Court Case                             Claim
Employment                                                   Review                                            Other Civil Petition
   Wrongful Termination (36)                          Other Judicial Review (39)
   Other Employment (15)                                  Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Puppets.
CM-0101Rev.July 1.20071                                                                                                                        Page 2012
                                                      CIVIL CASE COVER SHEET
                  Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 7 of 94 Page ID #:11




     f   SHORT Tm-E:   Hanna v Sierra Network, Inc., at al                                                  CASE NUMBER




                                    CIVIL CASE COVER SHEET ADDENDUM AND
0                                          STATEMENT OF LOCATION
                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                    This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Coud.



           Step 1:      After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                        Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


           Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

           Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                        chosen.

                                                Applicable Reasons for Choosing Court Filing LocationiColumn

    1. Class actions must be filed In the Stanley Mask Courthouse, Central District.       7. Location where petitioner resides.
    2. Permissive filing In central district.                                              B. Location wherein defendant/respondent functions wholly.
    3. Location where cause of action arose.                                               9. Location where one or more of the parties reside.
    4. Mandatory personal Injury filing in North District.                                10. Location of Labor Commissioner Office.
                                                                                          11. Mandatory filing location (Hub Cases unlawful detainer, limited
    5. Location where performance required or defendant resides.
                                                                                          non-collection, limited collection, or personal injury).
    6. Location of property or permanently garaged vehicle.




                                     A                                                           B                                                         C
                         Civil Case Cover Sheet                                           Type of Action                                          Applicable Reasons -
                               Category No.                                              (Check only one)                                          See Step 3 Above

                                 Auto (22)              0 A7100 Motor Vehicle - Personal Injury/Property Damage/wrongful Death                1. 4, 11

                         Uninsured Motorist (48)        0 A7110 Personal Injury/Property DamageNVrongrui Death — Uninsured Motorist           1, 4, 11


                                                       0 A6070 Asbestos Property Damage                                                       1, ii
                              Asbestos (04)
                                                       0 A7221 Asbestos- Personal Injury/Wrongful Death                                       1, 11

                          Product Liability (24)       0 A7260 Product Liability (not asbestos or toxic/environmental)                        1.4. 11

                                                       0 A7210 Medical Malpractice - Physicians      a Surgeons .                             1, 4, 11
                        Medical Malpractice (45)
                                                       Cl A7240 Other Professional Health Care Malpractice                                    1, 4, 11


                                                       0 A7250 Premises Liability (e.g., slip arid fall)
                                                                                                                                              1, 4, 11
                            Other Personal
                            Injury Property            0 A7230 intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                              1.4. 11
                           Damage Wrongful                       assault, vandalism, etc.)
                              Death (23)                                                                                                      1.4. 11
                                                       D A7270 intentional Infliction of Emotional Distress
                                                                                                                                              1, 4, 11
                                                       O A7220 Other Personal Injury/Property DamageANrongful Death




     LAW/ 109 (Rev 2/16)                              CIVIL CASE COVER SHEET ADDENDUM                                                      Local Rule 2.3
     LASc Approved 03-04                                 AND STATEMENT OF LOCATION                                                            Page 1 of 4
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 SHORT TITLE            Hanna v Sierra Network, Inc., et al


                                       A                                                         B
                                                                                                      1   CASE NUMBER


                                                                                                                                 A
                                                                                                                                     wireithz
                                                                                                                                                    CrApiriliag-
                             Civil Case Cover Sheet                                         Type of Action                                   Reasons- See Step 3
                                   Category No.                                           (Check only one)                                         Above

                               Business Tort (07)         0 A8029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3

                                Civil Rights (08)         0 A6005 Civil Rights/Disorimination                                                1, 2,3

                                Defamation (13)           0 A6010 Defamation (slander/libel)                                                 1, 2, 3

                                   Fraud (16)             0 A6013 Fraud (no contract)                                                        1, 2, 3

                                                          0 A6017 Legal Malpractice                                                          1, 2, 3
                         Professional Negligence (25)
                                                          0 A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3

                                  Other (35)              0 A6025 Other Non-Personal Injury/Properly Damage tort                             1, 2, 3

                          Wrongful Termination (36)      0 A6037 Wrongful Termination                                                        1, 2,3

                                                         0 A6024 Other Employment Complaint Case                                             1, 2,3
                            Other Employment (15)
                                                         0 A6109 Labor Commissioner Appeals                                                  10

                                                         0 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful          2, 5
                                                                    eviction)
                         Breach of Contract/ Warranty                                                                                        2,5
                                     (06)                0 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                               (not insurance)                                                                                               1, 2, 5
                                                         0 A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                             1, 2, 5
                                                         0 A8028 OtherZreach of Contract/Warranty (not fraud or negligence)

        IS                                               0 A6002 Collections Case-Seller Plaintiff                                           5, 6, 11
                               Collections (09)
       0                                                 0 A6012 Other Promissory Note/Collections Case                                     5, 11
       C.)
                                                         0 A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5.6. 11
                                                                  Purchased on or after January 1. 2014)
                          Insurance Coverage (18)        0 A6015 Insurance Coverage (not complex)                                            1.25,8

                                                         El A6009 Contractual Fraud
                             Other Contract (37)         0 A6031 Tortious Interference                                                      1, 2, 3, 5
                                                         0 A8027 Other Contract Dispute(not breach/insuranceffraud/negligence)              1, 2, 3, 8, 9

                          Eminent Domain/Inverse
                                                         0 A7300 Eminent Domain/Condemnation                 Number of parcels              2,6
                            Condemnation (14)

                           Wrongful Eviction (33)        0 A6023 Wrongful Eviction Case                                                     2,6

                                                         0 A6018 Mortgage Foreclosure                                                       2.6
                          Other Real Property (26)       0 A6032 Quiet Title                                                                2,6
                                                         0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

                       Unlawful Detainer-Commercial
                                    (31)                 0 A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
   UnlawfulDetainer




                        Unlawful Detainer-Residential
                                                        0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)              6, 11
                                    (32)
                            Unlawful Detainer-
                                                        0 A6020F Unlawful Detalner-Post-Foreclosure                                         26, 11
                           Post-Foreclosure (341
                        Unlawful Detalner-Drugs (38)    0 A6022 Unlawful Detainer-Drugs                                                     26, 11


LACIV 109 (Rev 2/16)                                    CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
LASC Approved 03-04                                        AND STATEMENT OF LOCATION                                                        Page 2014
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SMIT Trri-E:   Hanna v Sierra Network, Inc., et al                                                    CASE WANES


               I-
                                                                                                               1881'010 89 e
                                 A                                                            B                              C Applicable
                      Civil Case Cover Sheet                                          Type of Action                      Reasons - See Step 3
                           Category No.                                             (Check only one)                            Above

                      Asset Forfeiture (05)         0 A6108 Asset Forfeiture Case                                         2,3, 6
               _
                    Petition re Arbitration (11)    0 A6115 Petition to Compel/ConfirmNacate Arbitration                  2,5
       t
      '5
       o
      rK                                            0 A6151 Writ - Administrative Mandamus                                2,8
      Tv                                                                                                                 2
      ~a              Writ of Mandate (02)          0 A6152 Writ - Mandamus on Limited Court Case Matter
      -0=                                           0 A6153 Writ - Other Limited Court Case Review                       2
      -,

                   Other Judicial Review (39)       0 A6150 Other Wilt /Judicial Review                                  2,8

               Antitrust/Trade Regulation (03)      0 A6003 Antitrust/Trade Regulation                                    1, 2, 8
       c

      I ,
      '.3
                    Construction Defect (10)        0 A6007 Construction Defect                                           1, 2, 3

                   Claims Involving Mass Tort       0 A6006 Claims involving Mass Tort                                   1, 2, 8
       0                      (40)
      'EL
       E
      c.,           Securities Litigation (28)      CI A6035 Securities Litigation Case                                  1, 2, 8
      .t•
      V                    Toxic Tort
       0                                            0 A6D36 Toxic Tort/Environmental                                     1, 2, 3, 8
       o               Environmental (30)
      7
      '5
                   Insurance Coverage Claims        0 A6014 Insurance Coverage/Subrogation (complex case only)           1,2, 5, 8
      cE             from Complex Case (41)

                                                    0 A6141 Sister State Judgment         .                              2,6, 11
                                                    0 A6160 Abstract of Judgment                                         26
  1 .4                                              CI A6107 Confession of Judgment (non-domestic relations)             2,9
  E 'hi                    Enforcement
  as tA
  o .0                  of Judgment (20)            0 A6140 Administrative Agency Award (not unpaid taxes)               2,8
  e5 .4
  1E "5                                             0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8
                                                    0 A6112 Other Enforcement of Judgment Case                           2, 8, 9

                            RICO (27)               0 A6033 Racketeering (RICO) Case                                     1, 2, 8
  0
    ea
   ....
  ==
                                                    0 A6030 Declaratory Relief Only                                      1, 2, 8
  2 :ffl
 5t
 7 °                   Other Complaints             0 A6040 Injunctive Relief Only (not domestic/harassment)             2,8
 0 0               (Not Specified Above) (42)       CI A6011 Other Commercial Complaint Case (non4ortMon-cornplex)       1, 2, 8
   I
 a E5
                                                    0 A6000 Other Civil Complaint (nonkortinon-comptex)                  1,2,8

                    Partnership Corporation         0 A6113 Partnership and Corporate Governance Case                    2,8
                       Governance (21)

                                                    0 A6121 Civil Harassment                                             2,3, 9
 o
 = (I)
   0                                                0 A6123 Workplace Harassment                                         2, 3, 9
 o 0
 o =
 0 -                                                0 A6124 Eider/Dependent Adult Abuse Case                             2,3,9
  sr 16               Other Petitions (Not
 75 0-               Specified Above) (43)          0 A6190 Election Contest
  =  -                                                                                                                   2
  o :E.
 No                                                 Cl A6110 Petition for Change of Name/Change of Gender                2,7
                                                    0 A6170 Petition for Relief from Late Claim Law                      2. 3, 8
                                                    0 A6100 Other Civil Petition                                         2.9




LAC1V 109 (Rev 2/16)                               CIVIL CASE COVER SHEET ADDENDUM                                     Local Rule 2.3
LASC Approved 03-04                                   AND STATEMENT OF LOCATION                                          Page 3 of 4
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  SHORT TITLE:   Hanna v Sierra Network, Inc., et at                                    CASE NUMBER

                                                                                                  1    c) tc,4                 A


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
             type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
             (No address required for class action cases).

                                                                    AOORESE
    REASON:
                                                                    14931 Gwenohris Court
     0 1. 0 243. 0 4. 0 5. 0 6. 0 7. 0 8. 0 9. 0 10. 0 11.



    CITY:                                      STATE   ZIP COOE

   Paramount                                  CA       90723


Step 6: Certification of Assignment: I certify that this case is properly filed in the       Central                       District of
             the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: November 28, 2018
                                                                                    (SIONA                  YfFILIKPARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       I. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.
       4. CM! Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court onder for waiver, partial or scheduled payments.
       6. A signed orderappointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner Is a
          minor under 18 years of age will be required by Court in order to issue a summons.
       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




 LACIV 109 (Rev 2/16)                        CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.3
 LASC Approved 03-04                            AND STATEMENT OF LOCATION                                                Page 4 of 4
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      1    RODNEY S. DIGGS, ESQ. (SBN 274459)
           rdiggs@imwlaw.com
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                                                                                              (7411Zfornizt
                                                                                             Arkr:inkr;
                  McNEILL & WYATT
           444 S. Flower Street, Suite 1800
     4
           Los Angeles, California 90071                                        NOV 29 2C-16
           Tel. (213) 489-0028
     5     Fax (213) 489-0552
                                                                    Sherri R. Cafter, Executive Officer/Clerk
                                                                             By               Deputy
     6 Attorneys for Plaintiff,
       David Hanna, an individual
     7
     8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

     9               FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT
 10
 11        DAVID HANNA, an individual                 Case No   18STCV066‘945
 12                                                   COMPLAINT FOR DAMAGES AND
                                                      DEMAND FOR JURY TRIAL
 13
14         VS.                                        CAUSES OF ACTION FOR:
                                                      1.    BREACH OF FIDUCIARY DUTY
15                                                    2.    BREACH OF THE COVENANT OF
16                                                          GOOD FAITH AND FAIR DEALING
           SIERRA NETWORK, INC., a corporation;
                                                      3.    UNFAIR AND DECEPTIVE
           AL FAKHER HOLDING TOBACCO                        BUSINESS PRACTICES IN
17
           AND TRADING CO., a business of
                                                            VIOLATION OF CALIFORNIA
18         unknown form; AL FAKHER HOLDING                  BUSINESS AND PROFESSIONS
           USA, INC., a California corporation;             CODE SECTION 17200, et seq.
19         PIONEER VENTURE GROUP, LTD., a
                                                      4.    VIOLATION OF CALIFORNIA
           company limited by shares; EMIL
20                                                          CORPORATIONS CODE § 25401
           HAKIM, an individual; EHAB ATALLA,
                                                      5.    FRAUD
           an individual; and DOES 1-250, inclusive
21                                                    6.    VIOLATION OF RULE lOb-5 OF
                                                            SECURITIES AND EXCH ANGE ACT
22                      Defendants.
                                                            OF 1934
                                                      7.    NEGLIGENCE
23
                                                      s.    CONSPIRACY
24                                                    9.    COMMON COUNTS
                                                      10.   CONSTRUCTIONAL FRAUD
25                                                    11.   INTENTIONAL
                                                            MISREPRESENTATION
26                                                    12.   NEGLIGENT
                                                            MISREPRESENTATION; and
27
                                                      13.   RESCISSION OF CONTRACTS
28


                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 12 of 94 Page ID #:16




                                                           I.
                                                     INTRODUCTION
     2
     3           This Complaint for damages and declaratory relief by Plaintiff DAVID HANNA

     4    (hereinafter "Plaintiff" or "Hanna") against Defendants SIERRA NETWORK, INC., a

     5    California corporation; EMIL HAKIM, an individual; EHAB ATALLA, an individual; AL
 6 FAKHER HOLDING TOBACCO TRADING AND AGENCIES, LLC., a Jordanian limited
 7
   liability company; PIONEER VENTURE GROUP, LTD., a United Arab Emirates company
 8
          limited by shares; AL FAKHER HOLDING USA, INC., a California corporation; and DOES
 9
          1-250, arises out of the August 2017 redemption of Plaintiff's shares in the company at an
10
11       unfairly low value and under duplicitous circumstances. Plaintiff, upon information and belief

12       and the investigation of his counsel of record, Ivie, McNeill & Wyatt, APLC, hereby alleges as
13       follows:
14
                                                         IL
15                                            JURISDICTION AND VENUE

16               1       This Court has subject matter jurisdiction in this action pursuant to 28 U.S.C. §§
17       1331, 1332, and 1367. The Court has original jurisdiction pursuant to 28 U.S.C. § 1331 because
18
         Plaintiff asserts claims that arise under the laws of the United States, namely, 17 C.F.R.
19
         §240.10b-5. The Court has supplemental jurisdiction over Plaintiffs state law claims because
20
         the claims are so related to Plaintiff's federal-question claim that they form the same case and/or
21
22       controversy.

23              2.      The Court also has subject matter jurisdiction in this action pursuant to 28 U.S.C.

24       §1332(a)(2) because Defendant Al Falcher Holding Tobacco Trading and Agencies, LLC;
25       Pioneer Venture Group, Ltd. are citizens of foreign states and more than $75,000.00 is in
26
         controversy.
27
                3.      The Court has specific personal jurisdiction over the parties because each has
28
                                                          2
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 13 of 94 Page ID #:17




     1    sufficient contacts with the State of California and has committed tortious acts in the County of
 2 Los Angeles in California or directed to California. Additionally, the damage suffered by
 3
   Plaintiff occurred in California.
 4
           4.      This Court also has specific personal jurisdiction over Plaintiff, Sierra Network,
 5
   Inc., Emil Hakim and Ehab Atalla because the parties expressly consented to the exclusive
 6
 7 jurisdiction of the courts of the State of California. On February 25, 2017, Plaintiff entered into
 8        an agreement with Emil Hakim and Ehab Atalla wherein the parties consented to the exclusive

 9 jurisdiction of the Superior court of California for the County of Los Angeles to enforce the laws
10
          of the United States and State of California for any dispute involving the agreement. On August
11
         31, 2017, Plaintiff and Sierra Network, Inc. entered into a "Shareholder Confirmation"
12
         agreement wherein the parties agreed that the Agreement would be governed by and construed
13
         and enforced in accordance with the laws of the State of California.
14
15               5.       Accordingly, this Court is the proper venue for this action.

16
                                                           PARTIES
17
                 6.       Plaintiff David Hanna is an adult individual residing in Los Angeles County, State
18
19       of California.

20               7.       Defendant Sierra Network, Inc., is a California corporation, with its principal
21       place of business at 14931 Gwenchris Court, Paramount, California 90723. At the pertinent
22
         times mentioned in this Complaint, Defendant Emil Hakim, an individual, was the President,
23
         director and a majority shareholder of Sierra Network, Inc. Upon information and belief, Hakim
24
         was an adult individual residing in Los Angeles County, State of California. At the pertinent
25
26       times mentioned in this Complaint, Defendant Ehab Atalla, an individual, was the Chief

27       Financial Officer, director and a majority shareholder of Sierra Network, Inc. Upon information

28       and belief, Atalla was an adult individual residing in Los Angeles County, State of California.
                                                            3
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 14 of 94 Page ID #:18




     1          8.      Defendant Al Fakher Holding Trading Tobacco and Agencies, LLC, is and was at
     2 all times mentioned herein, a limited liability company which conducted business in California.
     3
         Defendant Pioneer Venture Group Ltd. is a company limited by shares with its principal place of
     4
     5 business in Dubai, United Arab Emirates, which is a wholly owned subsidiary of Defendant Al
     6 Fakher Holding Trading Tobacco and Agencies, LLC.

     7          9.     Defendant Al Fakher Holding USA, Inc. is a California corporation with its
     8 principal place of business at 14931 Gwenchris Court, Paramount CA 90723. Upon information
     9 and belief, Pioneer Venture Group Ltd. was the entity which created Al Faldier Holding, USA,
 10 Inc. for the purpose of Al Faldier's acquisition of Defendant Sierra Network, Inc.
 11
               10.   The true names and capacities, whether individual, corporate, associational or
 12
 13 otherwise of DOES 1 through 250, inclusive, are unknown to Plaintiff David Hanna at this time,
 14 who, therefore sues said Defendants by such fictitious names, and when their true names and/or
15 capacities are ascertained, Plaintiff will seek leave of Court to amend this Complaint
16 accordingly. Plaintiff is informed and believes, and upon such information and belief, alleges
17 that each of the Defendants designated herein, including DOES 1 through 250, is responsible in
18 some manner and liable herein by reason of negligence, breaches, misrepresentations, omissions
19
     to act and other actionable conduct, and that such conduct was a substantial factor in causing the
20
21 injuries and damages to Plaintiff as hereinafter alleged.

22                                                         IV.
                                            GENERAL ALLEGATIONS
23
            11.    Al Falcher is one of the most well-known leading tobacco companies in the world,
24
25 offering a broad range of top-tier quality shisha tobaccos, hookah tobaccos and non-tobacco
26 molasses around the globe. Al Falcher's product notoriety and market strength are a result of
27 targeted business efforts to expand the company and dominate the sales and distribution markets.
28             12.    The Jordanian public shareholding company Al-Eqbal Investment Co. is at the top
                                                       4
                          COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 15 of 94 Page ID #:19




     1    of Al Fakher's corporate chain with a myriad of subsidiaries under its umbrella, including
     2    operations companies, manufacturing companies and investment companies.
     3
                   13.       In 2017, Sierra Network, Inc. ("Sierra Network") was the only authorized
 4
          distributor of Al Fakher's product in the United States. The companies entered into an exclusive
 5
          distribution agreement where Sierra Network imported the products wholesale from Al Falcher
 6
 7        and then supplied the products to businesses across the United States.

 8                14.        Sierra Network, Inc. was incorporated in the State of California in 2004 by Emil
 9        Hakim and Ehab Atalla ("Director Defendants") as the sole members of the company.
10
          According to the Certificate of Amendment of Articles of Incorporation on file with the
11
          California Secretary of State, Sierra Network has only one class of common stock with 1000
12
          shares in total.
13
                  15.        Pursuant to a Shareholder's Agreement dated October 16, 2009, Plaintiff David
14
15       Hanna purchased 125 shares' of Sierra Network stack in exchange for caah and services. hi total,

16        Sierra Network had four shareholders. The entirety of Sierra Network's stock was distributed
17        among the shareholders as follows:
18
                                 Shareholder                Number of                 Ownership
19
                                                          Shares                  Percentage
20
                                  Emil Hakim                375 Shares                  37.5%
21
                                  Ehab Atalla               375 Shares                  37.5%
22
                                 David Hanna                125 Shares                   12.5%
23
                                 Sherif Atalla              125 Shares                   12.5%
24
                  16.        At all relevant times, Emil Hakim was the President and CEO of Sierra Network
25
         and Ehab Atalla was Chief Financial Officer. Upon information and belief, Emil Hakim and
26
         Ehab Atalla were the sole directors, officers, and majority shareholders of Sierra Network.
27
28       Sherif Atalla and Plaintiff David Hanna were minority shareholders.

                                                             5
                                COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
          Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 16 of 94 Page ID #:20




      I            17.     Al Eqbal Investment Co. released a memo on July 28, 2017 concerning Al
     2
           Fakher's plan to gain majority control over its distribution markets. Upon information and
     3
           belief, according to this memo and also according to Al Eqbal Investment Co.'s December 31st
     4
           2017 Financial Statement and Audit Report, on July 26, 2017 the company (through its
     5
           subsidiary, Defendant Al Fakher Holding for Tobacco Trading and Agencies, LLC, herein "Al
     6
     7     Fakher Holding 'VIA") purchased the rights to distribute its own product from many of the

     8     distribution companies it utilized in 53 countries for a total price of $187.5 Million U.S. Dollars.
     9             18.     Additionally, the July 28, 2017 memo stated that subsidiary Al Fakher Holding
 10
           TTA was in the process of finalizing negotiations for the acquisition of a distribution company
 11
          responsible for 10% of Al Fakher's total distribution activity for an anticipated buyout price of
 12
           $55 Million U.S. Dollars.
 13
14                 19.    Al Eqbal Investment Co.'s December 31e, 2017 Financial Statement and Audit

15        'Report showed only One more acquisition of a distribution company in the year of 2017 besides

16        the July 26, 2017 distribution rights acquisition: Sierra Network, Inc.
17                20.     Plaintiff is informed and believes, and upon such belief alleges that at least as of
18
          the time of Al Eqbal Investment Co.'s July 28, 2017 memo, majority shareholders and directors
19
          of Sierra Network Defendant Emil Hakim and Defendant Ehab Atalla had been engaging in
20
          negotiations with Defendant Al Falcher Holding TTA for the sale of Sierra Network.
21
22                21.     Director Defendants informed Plaintiff of their intent to sell the company to Al

23        Fakher and expressed their desire to redeem all of Plaintiff's shares in Sierra Network prior to

24 the sale. Plaintiff agreed.
25                22.     On August 1, 2017, in contemplation and anticipation of Sierra Network's
26
          potential sale, Director Defendants presented to Plaintiff a Shareholder Agreement Addendum
27
          which changed the way Sierra Network's stock value would be calculated. According to the
28
                                                             6
                              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I Addendum, the value of Plaintiff's shares:
     2            "will be equal to the book value of the Assets less all Liabilities, and not
     3 including any goodwill, fair market value, or business value in the Company, or
          any other compensation (which solely belongs fifty-percent (50%) to Emil Hakim
  4 and fifty-percent (50%) to Ehab Atalla)...        which is the Closing Net Book Value of
  5 the Company on August 1, 2017."
  6              23.     The August 1, 2017 Addendum also changed the boundaries of the release
  7
          language. The release clause in the previous Shareholder Agreement clause stated:
  8
           "In the event of the Company's Liquidation, each Party hereby releases one
 9 another and the Company from all known and unknown claims related to the
10 operations of the Company, the Share's Holder Agreement (sic), and the Sell and
   Buy Agreement, exclusive of any obligations arising under the terms of this
11 Agreement."
12         However, the August 1, 2017 release required:
13         "David Hanna and Sherif Atalla hereby release Emil Hakim, Ehab Atalla
   and the Company from all known and unknown claims related to the operations of
14 the Company, the Liquidations, and all valuation of their respective shares in the
15 Company, exclusive of any obligations arising under the terms of this Addendum."
16               24.    According to the Closing Statement attached as Exhibit A to the Addendum, as of
17 August 1, 2017 Sierra Network, Inc. was valued to be worth $12,693,151.03 U.S. Dollars.
18 According to this valuation provided to Plaintiff, the fair value of Plaintiff's common stock was
19
   equal to 12.5% of this number—$2,108,553.34 U.S. Dollars.
20
           25. Upon information and belief, Plaintiff believes and hereby alleges that Director
21
   Defendants knew the companies were negotiating around a significantly higher sale price than
22
23 the $12.7 Million Dollar valuation they provided to Plaintiff (around the $55 Million Dollar price
24 tag mentioned in Al E,qbal's July 28, 2017 memo).
25              26.     Director Defendants breached their fiduciary obligations by engaging in gross
26 dishonesty and fraud by purposely concealing the actual value of Sierra Network in order to
27
   mislead Plaintiff and to induce Plaintiff into selling his stock to Director Defendants at a bargain
28
                                                         7
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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   1 price. Director Defendants took advantage of their secret knowledge that, at the time Plaintiff
  2 sold his stock, they were certain Sierra Network would be sold to Al Fakher at a significantly
  3
    higher price.
  4
            27. Upon information and belief, Director Defendants continued to negotiate a much
  5
    higher sale price than the valuation they told Plaintiff; and simultaneously continued to deceive
  6
  7 Plaintiff into entering into additional contractual agreements that Plaintiff had no way of
  8 knowing were drafted to protect Director Defendants' anticipated windfall.
  9          28.    On August 31, 2017, Director Defendants presented Plaintiff with a Shareholder
10 Confirmation Agreement ("Shareholder Confirmation"). According to the Shareholder
11
   Confirmation, Plaintiff was to receive $2,108,553.34 in exchange for all of his stock in Sierra
12
   Network, "which the Parties acknowledge and agree is the value of Hanna's 12.5% equity
13
                        (sic)."
14 interest in Sierraas
15         29. The Shareholder Confirmation expanded the release language once again. Upon
16 information and belief; Director Defendants improperly utilized the release clause to induce
 17 Plaintiff into unknowingly waiving his right to seek any remedy from Director Defendants'
 18
    willful, intentional and calculated misconduct, The release paragraph stated:
 19
             Hanna hereby releases Al-Eqbal Investment Co., (PLC) a Jordanian
20 company, and all "Al Falcher" entities, including, but not limited to Al Falcher
21 Tobacco Factory F.Z.E., Al Fakher International Co., and Al Faker Tobacco and
    Trading Co., from all known and unknown, past, preset, or future claims related to
22 the operations of Sierra, and Hanna's employment by or position at Sierra,
23 exclusive of any obligations arising under the terms of this Confirmation.
    Additionally, Hanna further releases Sierra, Emil Hakim, and Ehab Atalla from all
24 known and unknown past, present and future claims related to the operations of
25 Sierra Network, Inc., and Hanna's employment by or position at Sierra Network,
    Inc., exclusive of any obligation arising under the terms of this Confirmation.
26
            30. On September 24, 2017, Al Fakher Holding TTA's subsidiary Pioneer Venture
27
    Group, Co. created "Al Fakher Holding, USA, Inc." in the State of California for the purpose of
28
                                                    8
                        COMPLAINT FOR DAMAGES AND DEMAND FOR. JURY TRIAL
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      I acquiring Sierra Network.
     2            31.    On October 23, 2017, Director Defendants asked Plaintiff to execute a "Form of
     3
          Acknowledgement and Release" in favor of Al Fakher Holding, USA, Inc. and Sierra Network.
     4
          The deceitful release language expanded again to prohibit any and all claims that Plaintiff:
     5
            "may now own or hold, or have at any time prior to the date hereof may
     6
    have owned or held, or may at any time own or hold by reason of any matter or
  7 thing arising from any cause or event whatsoever that occurred on or prior to the
    date hereof, including but not limited to those related to, or arising from, Hanna's
  8
    ownership of the Shares or sale of the Shares prior to the consummation of the
  9 transaction with Buyer [Al Fakher Holding, USA, hie]."
 10               32.    The Agreement also included the following clause:
 11          "Hanna assumes all risk of mistake. If Hanna should subsequently
    discover that any fact relied upon by him in entering into this Agreement was not
 12
    true or that any fact was not known or that his understanding of the facts or the
 13 law was incorrect, such party shall not be entitled to any relief in connection
 14 herewith. Notwithstanding the generality of the foregoing, no party shall have
    any right or claim to set aside or rescind this Agreement."
 15              33.     This contract language, which is voidable by public policy, was slightly expanded
16
          in a November 10, 2017 "Acknowledgement of Release" entered into by Plaintiff; Sierra
17
          Network, Emil Hakim and Ehab Atalla. The Acknowledgement of Release required Plaintiff to:
18
19              "fully and forever release, acquit and discharge Sierra, Al Fakher Holdings
          USA, Inc., Hakim, Atalla, and each of their affiliates.., from any liabilities.., of
20 any form whatsoever, of whatever kind or nature in law, equity or otherwise...
   including but not limited to those related to, or arising from, Hanna's ownership
21
          of the Shares or sale of the Shares prior to the consummation of Sierra, Hakim
22 and/or Atalla's transaction with Al Fakher Holding USA, Inc."
23               34.    Upon information and belief, Plaintiff believes and alleges that Director
24 Defendants knew of the true position of the company yet purposely misled Plaintiff about its
25 potential purchase price and valuation in order to improperly redeem Plaintiff's shares at a false
26
   low price immediately prior to a much more valuable sale of the company.
27
           35. Throughout Director Defendants' negotiations with Al Fakher on the one hand
28
                                                           9
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I    and redemption transaction with Plaintiff on the other hand, Director Defendants repeatedly
     2    misrepresented to Plaintiff that Sierra Network's valuation was only $12.7 Million U.S. Dollars.
     3
                  36.     On December 4, 2017, three months after Plaintiff sold his 12.5% equity interest
     4
          for $2.1 Million U.S. Dollars, Al Fakher Holdings USA, Inc. acquired Sierra Network from the
     5
          only remaining shareholders, Emil Hakim and Ehab Atalla, for a purchase price of $38.6 Million
     6
  7       U.S. Dollars.

  8               37.     In ignorance of the falsity of Director Defendants' misleading statements and
 9        their failure to disclose material facts, Plaintiff relied thereon to his detriment in selling his
 10
          shares of Sierra Network stock at a price which was not fair.
11
                  38.     As a direct and proximate result of Defendants' acts and omissions, Plaintiff has
12
          been damaged in an amount in excess of the jurisdictional requirements of this Court, to be
13
          established in accordance with the proof at trial.
14
15                        FIRST CAUSE OF ACTION FOR BREACH OF FIDUCIARY DUTY
                                (Against Director Defendants and DOES 1-250, inclusive)
16
                 39.      Plaintiff realleges and incorporates herein as if set forth in full, paragraphs I
17
18        through 38, above.

19               40.      As directors, officers, and majority shareholders of Siena Network, Inc.,

20       Defendants Emil Hakim and Ehab Atalla ("Director Defendants") owed a fiduciary duty to
21       Plaintiff as a minority shareholder of the company and thus were required to refrain from
22
         abusing their positions of directors, officers, and majority shareholders in a manner that favors
23
         Director Defendants' personal interests at the expense of Plaintiff. Director Defendants have a
24
         duty to refrain from activity orchestrated to benefit themselves at the expense of the Plaintiff.
25
26               41.      Director Defendants, in performing and omitting to perform the acts hereinabove

27       alleged, had a confidential and fiduciary relationship whereby Director Defendants undertook

28       actions for the benefit of Plaintiff, including but not limited to, the obligation to render a full and
                                                            10
                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I     fair disclosure to Plaintiff of all the facts that materially affects the rights and interests of a
     2     fellow shareholder such as Plaintiff.
     3
                   42.      Director Defendants owed Plaintiff the highest duties of loyalty, honesty, fidelity,
     4
          trust, candor, disclosure and due care in their fiduciary obligations, as follows:
     5
                   i)      To act faithfully towards Plaintiff and his interests;
 6
 7                 ii)     To faithfully disclose all potential and existing conflicts of interest;

 8                 iii)    To faithfully and diligently keep Plaintiff informed of all material developments

 9 that affected his interests; and
10
                  iv)      To refrain from intentional dishonesty.
11
                  43.      As set forth above, Director Defendants breached their obligations and fiduciary
12
          duties of care, loyalty, reasonable inquiry, oversight, good faith and supervision, by:
13
                  i)       Materially misleading Plaintiff about the fair value of Sierra Network, Inc, in the
14
15 upcoming sale;
16                ii)     Redeeming Plaintiff's shares at an unfairly low value;
17                iii)    Redeeming Plaintiff's shares without disclosing the fair value of Sierra Network,
18
          Inc. as of the date of redemption;
19
                  iv)     Failing to disclose to Plaintiff, a minority shareholder, information affecting the
20
          value of Plaintiff's shares after Plaintiff agrees to sell the shares but before the sale took place;
21
                  v)      Redeeming Plaintiff's shares without disclosing their inherent conflict of interest
22
23        arising from their capacities as officers, directors, majority shareholders, and insiders;

24                vi)     Failing to disclose appraisals of share value and profit projection to Plaintiff in
25        connection with the sale of Sierra Network, Inc.;
26
                  vii)    Seeking multiple releases from liability without first providing a full and fair
27
         statement of the nature and effects of their acts;
28
                                                              11
                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      1             viii) Engaging in intentional dishonesty and fraud by disseminating false information
     2 and making misleading omissions; and
     3
               ix) Other acts and omissions which may be discovered during the course of our
     4
       investigation.
     5
               44. In failing to disclose material facts and committing the breaches of fiduciary
     6
     7 duties and obligations as set forth herein, Director Defendants acted intentionally, willfully,
     8 maliciously, oppressively, fraudulently, and/or in conscious disregard of the rights and interests
  9 of Plaintiff
 10        45.            As a direct and proximate result of Director Defendants' breach of their fiduciary
 11
          duties, Plaintiff has suffered economic and non-economic losses in an amount according to
 12
          proof.
 13
                     SECOND CAUSE OF ACTION FOR BREACH OF IMPLIED COVENANT OF
 14
                                  GOOD FAITH AND FAIR DEALING
 15                          (Against Director Defendants and DOES 1-250, inclusive)

16                 46.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
17 through 45, above.
18
           47. As discussed above, on various dates between November 1, 2007 and November
19
   10, 2017, Plaintiff entered into oral and written contracts with Emil Hakim, Ehab Atalla and/or
20
   Siena Network, Inc. The written contracts were binding on the parties' heirs, successors, and
21
22 assigns. Sierra Network, Inc. was purchased by Falcher Holding, USA, Inc. which owns 100% of
23 Sierra Network's stock.
24                 48.    The written contracts between Plaintiff and Defendants contained an implied
25 covenant of good faith and fair dealing that obligated Defendants to perform their duties and
26
   obligations competently, professionally, and with due diligence and to refrain from doing any act
27
   which would prevent or impede Plaintiff from obtaining the benefit of his bargain.
28
                                                          12
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      I            49.     As a direct and proximate result of Defendants' breaches of the covenant, Plaintiff
  2 has incurred special, general, and consequential damages in amount to be established at trial in
  3
    accordance with the proof.
  4
                  THIRD CAUSE OF ACTION FOR UNFAIR AND DECEPTIVE BUSINESS
  5        PRACTICES IN VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONS CODE
                                      SECTION 17200., et sea.
  6
                            (Against All Defendants and DOES 1-250, inclusive)
  7
                   50.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
  8
           through 49, above.
  9
 10                51.    The Unfair Competition Law defines unfair business competition to include any

 11        "unlawful, unfair or fraudulent" act or practice, as well as any "unfair, deceptive, untrue or
 12 misleading" advertising.
 13               52.     A business act or practice is "unfair" under the Unfair Competition Law if the
 14
           reasons, justifications and motives of the alleged wrongdoer are outweighed by the gravity of the
 15
          harm to the alleged victims.
16
                  53.     Defendants have violated the unfair prong of the Unfair Competition Law by
17
18 systematically failing to disclose to Plaintiff material information concerning the actual value of
19 his shares prior to redemption. Director Defendants engaged in purposeful conduct with the
20 intention of giving Plaintiff an unfairly low price for his shares in order to obtain a significantly
21 higher price for them in the final sale of the company.
22
            54.     These acts and practices are unfair because they rob minority shareholders of
23
   trust in the directors and the confidence in the belief that majority shareholders have every
24
   stockholder's best interest in mind when acting.
25
26         55. The gravity of the harm to members of the class resulting from these unfair acts

27 and practices outweighs any conceivable reasons, justifications or motives of Defendants for
28 engaging in such acts.
                                                           13
                              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      1            56.    Through their unfair acts and practices, Defendants have improperly obtained
  2 money from Plaintiff and similarly situated Class members.
  3
            57. As such, Plaintiff requests that this Court cause Defendants to restore this money
  4
    to Plaintiffs and all Class members, and to enjoin Defendants from continuing to violate the
  5
    Unfair Competition Law as alleged herein. Otherwise, Plaintiff may be irreparably harmed
  6
  7 and/or denied an effective and complete remedy if such an order is not granted.
  8                      FOURTH CAUSE OF ACTION FOR VIOLATION OF CALIFORNIA
                                      CORPORATIONS CODE § 25401
  9                           (Against Director Defendants and DOES 1-250, inclusive)
 10               58.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
 11
           through 57, above.
 12
                  59.    Section 25401 of the California Corporations Code makes it unlawful for any
 13
14 person to buy or offer to buy a security in this state by means of any written or oral
15 communication that includes an untrue statement of a material fact or omits to state a material
16 fact necessary to make the statements made, in the light of the circumstances under which the
17 statements were made, not misleading.
18
          60. In connection with Director Defendant's purchase of Plaintiff's shares as
19
   described herein, Defendants knowingly or with reckless disregard for the truth made various
20
   misleading statements of material facts and/or omissions of material facts necessary in order to
21
22 make the statements made, in light of the circumstances under which the statements were made,
23 not misleading.
24               61.     Director Defendants failed to disclose all facts known to them concerning the sale
25 of Sierra Network, Inc. and the valuation of Plaintiffs shares, which they had a fiduciary
26
   obligation to disclose to Plaintiff.
27
           62. The purpose and effect of Director Defendants' conduct was to cause the sale of
28
                                                            14
                                COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1 Plaintiff's shares to be made under circumstances which benefited Director Defendants but
  2 caused detriment to Plaintiff
  3
             63. In ignorance of the falsity of the misleading statements and the failure of Director
  4
    Defendants to disclose material facts, Plaintiff relied thereon to his detriment in selling his shares
  5
    at a price which was not fair.
  6
  7          64. As a direct result of Director Defendants' wrongful conduct, Plaintiff has suffered
  8 economic and non-economic damages in an amount to be determined at trial.
  9                                  kin kJ. CAUSE OF ACTION FOR FRAUD
                               (Against Director Defendants and DOES 1-250, inclusive)
 10
 11            65.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
12 through 64, above.
13             66.     Director Defendants owed a fiduciary duty of candor to Plaintiff By virtue of
14 Plaintiff having placed his trust and confidence in Director Defendants' fidelity and integrity and
15
   entrusting Director Defendants to act fairly, a confidential relationship existed at all relevant
16
   times between Plaintiff and Director Defendants. As fiduciaries, Director Defendants had a duty
17
18 to make full disclosure to Plaintiff of all material facts in connection with the sale of his shares in
19 Sierra Network.
20             67.     Plaintiff in fact placed confidence and reliance on Director Defendants' various
21     misleading statements or material facts and/or omission of material facts in connection with
22
       Plaintiff's sale of his stock to Director Defendants.
23
               68.     In ignorance of the falsity of the misleading statements and the failure of Director
24
       Defendants to disclose material facts, Plaintiff relied thereon to his detriment in signing multiple
25
26 sham contracts and selling his shares of company stock at a price which was unfair.
27             69.     As a result of Director Defendants' fraudulent actions, they gained an unjust
28 advantage over Plaintiff. Upon information and belief Director Defendants engaged in the
                                                         15
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      1 conduct alleged herein with the intent to deceive and defraud Plaintiff into believing that his
     2 interests were being fully protected when in reality they were not.
     3
                70. As a direct, proximate and substantial cause and result of Director Defendants'
     4
       fraudulent conduct, Plaintiff has suffered injuries as set forth more fully herein and according to
     5
       proof at trial.
     6
     7         71. In failing to disclose material facts and committing the breaches of fiduciary
     8    duties and obligations as set forth herein, Director Defendants acted intentionally, willfully,
  9 maliciously, oppressively, fraudulently, and/or in conscious disregard of the rights and interests
 10 of Plaintiff. By reason thereof, Plaintiff is entitled to recover from Defendants punitive damages
 11
          and exemplary damages in an amount sufficient to punish and make an example of Defendants
 12
         pursuant to California Civil Code § 3294.
 13
14               72.    As a result of Director Defendants' conduct alleged herein, Plaintiff is entitled to

15 unilateral rescission of each contract which Plaintiff entered into under mistake, fraud, duress
16 and/or undue influence exercised by or with the connivance on behalf of Director Defendants
17 pursuant to California Civil Code § 1689(b). Specifically, Plaintiff is entitled to rescission of the
18
   following Agreements:
19
          i)     "Sierra Network, Inc. Shareholder Agreements Amendment," executed February
20
   25, 2017;
21
22               "Sierra Network, Inc. Shareholder Agreements Addendum," executed August 1,

23 2017;
24              iii)    "Shareholder Confirmation," executed August 31, 2017;
25              iv)     "Form of Acknowledgement and Release," executed October 23, 2017; and
26
                v)      "Acknowledgement of Release," executed November 10, 2017.
27
28 / / I
                                                         16
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I                   SIXTH CAUSE OF ACTION FOR VIOLATION OF RULE 10b-5 OF
                               SECURITIES AND EXCHANGE ACT OF 1934
     2
     3                             (Against All Defendants and DOES 1-250, inclusive)

     4           73.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
     5 through 72, above.
     6           74.      Section 10(b) of the Securities Exchange Act of 1934 and SEC Rule 10b-5 make
     7
         it unlawful for any person, directly or indirectly, by the use of any means or instrumentality of
     8
         interstate commerce, or of the mails or of any facility of any national securities exchange to
     9
 10 engage in any act or make any untrue statement/omission of a material fact in order defraud a
 11 person in connection with the sale of any security.
 12              75.     Upon information and belief, in connection with the purchase and sale of
13 Plaintiffs shares in Sierra Network, Inc. as described herein, Director Defendants knowingly
14
   caused certain documents to be mailed, and assertions to be made which included various
15
   misleading statements of material facts and/or omissions of material facts necessary in order to
16
   make the statements made, in light of the circumstances under which they were made, not
17
18 misleading.
19               76.    Director Defendants failed to disclose all facts known to them concerning their
20 purchase of Plaintiff's shares, which disclosure they were required to perform because of their
21       fiduciary duties owed to Plaintiff. The purpose and effect of Director Defendants' conduct was
22
         to cause Plaintiff to sell his stock at an unfair price which benefitted Director Defendants but
23
         caused detriment to Plaintiff
24
                77.     In ignorance of the deceptiveness of Director Defendants' conduct, Plaintiff did in
25
26 fact rely thereon to his detriment in selling his shares to Director Defendants at a price far below
27 what Director Defendants knew was the fair value.
28              78.     As a direct and proximate result of Director Defendants' conduct, Plaintiff has
                                                         17
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I been damaged in an amount according to proof.
     2                            SEVENTH CAUSE OF ACTION FOR NEGLIGENCE
     3                              (Against All Defendants and DOES 1 250, inclusive)
                                                                               -




     4            79.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
     5 through 78, above.
     6        80. Defendants owed Plaintiff a duty of care by virtue of their position as directors,
  7
          officers, and majority shareholders of Sierra Network, Inc.
  8
                  81.    Defendants breached their duty of care in multiple ways, including, but not
  9
          limited to: breaching their duty of candor, breaching their duty to disclose material information,
 10
 11 breaching their duty to act in good faith in connection with enticing Plaintiff to enter into secretly
 12 misleading contracts and in connection with the purchase and sale of Plaintiff's shares prior to
13 the sale of the entire company.
14         82. As a direct and proximate result of Defendants' breach of fiduciary duties,
15
          Plaintiff has suffered economic and non-economic losses in an amount according to proof.
16
                                  EIGHTH CAUSE OF ACTION FOR CONSPIRACY
17                                 (Against AI I Defendants and DOES 1 250, inclusive)
                                                                              -




18
                 83.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
19
         through 82, above.
20
                 84.     Upon information and belief, Plaintiff believes and herein alleges that Al Fakher
21
22 Holding Tobacco and Trading Co., along with its subsidiaries Pioneer Venture Group, Ltd. and
23 Al Fakher Holding USA, Inc. (the "Al Fakher Defendants") were aware of and participated in
24 Director Defendants' plan to deceive Plaintiff out of a fair compensation for Plaintiff's shares in
25 Sierra Network, Inc. based on what Al Fakher Defendants knew or reasonably should have
26
   known was going to be the final purchase price for Sierra Network, Inc.
27
          85. The memo released by Al Eqbal Investment Co. on July 28, 2017 acknowledged a
28
                                                            18
                              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      I valuation of Sierra Network, Inc. at around $55 Million U.S. Dollars. Throughout the deal
     2 process, Plaintiff believes and herein alleges that Al Fakher Defendants and Director Defendants
     3
       conspired together to cause Plaintiff to execute amendments to the Shareholder Agreements
     4
       which would release Al Fakher Defendants from liability for the deceitful actions alleged herein
     5
       without Plaintiff having any reason to know the true nature of and reason for the amendments.
     6
     7        86.      Plaintiff alleges that Al Fakher Defendants agreed with Director Defendants and
     8 so intended the wrongful acts against Plaintiff alleged herein to be committed. Plaintiff further
  9 alleges that due to the relationship between the Director Defendants and Al Fakher Defendants,
 10 the sale was not an arms-length transaction. Thus, based on the circumstances of the transaction,
 11
        the nature of the acts done, the relationship between the defendants and the interests of the co-
 12
        conspirators, Plaintiff believes defendants conspired to cause Plaintiff's rightful earnings to be
 13
 14 redirected to Director Defendants. In a further attempt to conceal the proper valuation of the
 15 company, Plaintiff believes and herein alleges that Al Falcher Defendants falsely labeled the
16 additional amounts paid as "goodwill," after Director Defendants had Plaintiff agree in a
17 contractual amendment that he would not partake in.
18
            87. As a direct and proximate result of Defendants' breach of fiduciary duties,
19
   Plaintiff has suffered economic and non-economic losses in an amount according to proof.
20
                              NINTH CAUSE OF ACTION FOR COMMON COUNTS
21                             (Against Director Defendants and DOES 1-250, inclusive)
22
               88.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
23
       through 87, above.
24
               89.     Plaintiff alleges that Director Defendants received money that rightfully belonged
25
26 to Plaintiff.
27             90.    Due to Director Defendants' dishonesty toward Plaintiff, Director Defendants
28 received Plaintiff's money and retained it. The money was never used for the benefit of Plaintiff.
                                                        19
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1           91.     Director Defendants still have not given Plaintiff the money he is owed. Instead,
     2 Director Defendants attempted to shield themselves from paying what equity requires by
     3
       entering into deceitful contracts with Plaintiff In equity and good conscious, the funds that
     4
       Director Defendants received for Plaintiff's 12.5% equity in Sierra Network, above and beyond
     5
       the funds already provided to Plaintiff, should be given to Plaintiff.
     6
     7                     TENTH CAUSE OF ACTION FOR CONSTRUCTIVE FRAUD
                              (Against Director Defendants and DOES 1-250, inclusive)
     8
                 92.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
 9
10 through 91, above.
11        93. Director Defendants were directors of Sierra Network, Inc. and therefore owed a
12 fiduciary duty to Plaintiff to provide complete and accurate information in connection with the
13 sale of his shares.
14         94. Director Defendants breached this duty by failing to provide Plaintiff with
15
          complete and accurate information. Rather, the information Director Defendants gave to
16
         Plaintiff regarding the fair value of his shares was inaccurate and/or incomplete, which Director
17
18 Defendants knew or should have known was incorrect.
19              95.     Plaintiff reasonably relied on the information provided to him by Director
20 Defendants. Thus, Director Defendants' failure to disclose information misled Plaintiff to his
21       detriment.
22
                96.     Had Director Defendants disclosed complete and accurate information, Plaintiff
23
         reasonably would have behaved differently. As a direct result of Director Defendants' conduct,
24
         Plaintiff suffered economic and non-economic harm.
25
26
27
28
                                                        20
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      I                         ELEVENTH CAUSE OF ACTION FOR INTENTIONAL
                                             MISREPRESENTATION
     2                           (Against Director Defendants and DOES 1-250, inclusive)
     3
                  97.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
     4
           through 96, above.
     5
                  98.    At the time Director Defendants made false misrepresentations to Plaintiff

     7 concerning the valuation of his shares, Director Defendants knew that the shares were worth a
     8 much higher value based on their negotiations with Al Fakher.
  9               99.    However, in an effort to unfairly usurp the profits owed to Plaintiff, Director
 10 Defendants made such false representations to Plaintiff with the express intent of deceiving him
 11
    and inducing his reliance upon the statements and low valuation of Sierra Network.
 12
           100. Plaintiff justifiably relied on Director Defendants' intentional misrepresentations,
 13
 14 which caused him economic and non-economic injury.
 15                TWELFTH CAUSE OF ACTION FOR NEGLIGENT MISREPRESENTATION
                           (Against Director Defendants and DOES 1-250, inclusive)
16
                 101. Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
17
18 through 100, above.
19               102. Director Defendants represented to Plaintiff that his shares were worth only
20 around $2 Million U.S. Dollars. This representation was, in fact, not true. Director Defendants
21 had no reasonable grounds for believing this representation was true when they continuously
22
   made it to Plaintiff.
23
           103. Director Defendants made said misrepresentations to Plaintiff with the intention
24
   that he rely on them. Plaintiff did, in fact, reasonably rely on Director Defendants'
25
26 misrepresentations.
27               104. As a direct and proximate result of Plaintiff's reliance on Director Defendants'
28 representations, Plaintiff suffered harm.
                                                           21
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 32 of 94 Page ID #:36




     I             THIRTEENTH CAUSE OF ACTION FOR RESCISSION OF CONTRACTS
                          (Against Director Defendants and DOES 1-250, inclusive)
     2
     3          105. Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
     4 through 104, above.
     5         106. At the time Plaintiff entered into the Amendments to Shareholder Agreements, he
  6 had no reason to know of Director Defendants' fraudulent intent to deceive and harm Plaintiff.
  7
      In actuality, through a series of contractual agreements and amendments to agreements, Director
  8
      Defendants were, in essence, attempting to build a protective shield around the profits they knew
  9
 10 they would receive which rightfully belonged to Plaintiff.

 11            107. Based on the knowledge and information that Plaintiff now knows, which he had
 12 no reasonably way of knowing of at the time of contracting, the contracts were executed under
13 fraud, mistake of fact, and contained unconscionable terms.
14
            108. Equity and justice require rescission of each contract and amendment in order to
15
     allow Plaintiff an avenue to seek a fair remedy for defendants' transgressions against him. Had
16
17 Director Defendants fulfilled their fiduciary duties and disclosed all material facts known to
18 them at the time of entering into the contracts with Plaintiff, Plaintiff would have likely acted
19 differently and not entered into the agreements.
20             109. Due to defendants' conduct, justice and fairness require the contracts to be
21 rescinded. The language in the contracts concerning releasing defendants from liability is
22
     unconscionable. The language in the contracts concerning the proper and fair valuation of
23
     Plaintiffs shares in the company is unconscionable. The language in the contracts stating that
24
25 Plaintiff has no right to profits the company receives under the guise of "goodwill" is a sham and
26 unconscionable.

27            110. As a direct and proximate result of Director Defendants' extensive misdeeds,
28 Plaintiff has suffered economic and non-economic losses which require rescission of the
                                                      22
                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 33 of 94 Page ID #:37




     1    contracts.
     2
                                                            V.
     3                                               PRAYER FOR RELIEF

     4            WHEREFORE, Plaintiff prays for judgment against all Defendants, and each of them,
     5    as to all causes of action, as follows:
     6
                  1.      Plaintiff demands a jury trial as to the issues so triable;
     7
                  2.      Special damages according to proof;
     8
                  3.      General damages according to proof;
 9
                  4,      Rescission of contracts;
 10
11                5.      Restitution and disgorgement of all benefits and other undue compensation

12        obtained by Defendants at the expense of Plaintiff;
13               6.       Attorneys' fees and costs pursuant to California Civil Code § 1717;
14
                 7.       Declaratory and punitive damages;
15
                 8.       Equitable and/or injunctive relief as permitted by law and equity including
16
         restitution, attaching, impounding, imposing a constructive trust on, or otherwise restricting
17
         Defendants' assets so as to ensure that Plaintiff recover any judgments obtained against the
18
19       Defendants for their misdeeds; and

20               9.      Such further relief as the Court deems just and proper.
21
22       Dated: November 28, 2018                                 IVI c. ILL & WYATT

23
                                                          By:
24                                                                RO EY            GGS, ESQ.
                                                                  CHAENA B. DADE, ESQ.
25                                                                Attorneys for Plaintiffs,
26                                                                DAVID HANNA

27
28
                                                            23
                              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 34 of 94 Page ID #:38




     1                                  DEMAND FOR JURY TRIAL
     2
                 Plaintiff DAVID HANNA hereby demands a jury trial on all causes of action in the
     3
          above-referenced matter.
     4
     5
          Dated: November 28, 2018                          IV'          ILL & WYATT
     6
                                                                                           I.
     7
                                                     By:
 8                                                          RO EY . D GGS, ESQ.
                                                            CHAENA B. DADE, ESQ.
 9                                                          Attorneys for Plaintiffs,
                                                            DAVID HANNA
10
11
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                                                       24
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
          Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 35 of 94 Page ID #:39



                                                                                                         Reserved for Cedes Rs stamp
                        SUPERIOR COURT OF CALIFORNIA
                           COUNTY OF LOS ANGELES
    COURTHOUSE ADDRESS:
                                                                                                               FILED
   Stanley Mosk Courthouse                                                                             Supthot Court or Caltlarrie
                                                                                                         Countyof LosArgekis
   111 North Hill Street, Los Angeles, CA 90012
                                                                                                              11/29/2018
                        NOTICE OF CASE ASSIGNMENT                                             shc.iR Ceder, Emoarte OfkaiNA of Cow
                                                                                                By:           P913109 Offotd           DBrAtly
                           UNLIMITED CIVIL CASE

                                                                                        CASE NUMBER:

    Your case is assigned for all purposes to the Judicial officer indicated below. I    8STCV06896

                            MIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
                  ASSIGNED JUDGE              DEPT ROOM                         ASSIGNED JUDGE                         DEPT ROOM
           Michelle Williams Court           74




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of                          Court

    on   12/03/2018                                                        By   Patrice Offord                                    , Deputy Clerk
                  (Date)
LACIV 190 (Rev 6118)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
1.14SC Approved 05108
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 36 of 94 Page ID #:40




                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules bf Court; Title 3, Division 7, as applicable in the Superior Court, are summarized
 for your assistance.
 APPLICATION
 The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.
 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.
 CHALLENGE TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
 to a judge, or if a party has not yet appeared, within 15 days of the first appearance.
 TIME STANDARDS
 Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:
 COMPLAINTS
 All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

 CROSS-COMPLAINTS
 Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
 complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
 STATUS CONFERENCE
 A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
 complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
 trial date, and expert witnesses.
FINAL STATUS CONFERENCE
The Court will require the parties to attend a final stains conference not more than 10 days before the scheduled trial date. All
parties shall have motions in Entine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.
SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.
Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mask Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.
*Provisionally Comolex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




tACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05108
Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 37 of 94 Page ID #:41




                                    VOLUNTARY EFFICIENT LITIGATION STIPULATIONS
                 °RNLI.


                             (5/       The Early Organizational Meeting Stipulation, Discovery
     1/4 432.1        "rj:V         Resolution Stipulation, and Motions in Limine Stipulation are
 Superior Court of California
 County of Los Angeles
                                    voluntary stipulations entered into by the parties. The parties
                                    may enter into one, two, or all three of the stipulations;
                                    however, they may not alter the stipulations as written,
                                    because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                    These stipulations are meant to encourage cooperation
 Litigation Section

 Los Angeles County
                                    between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Law Section             manner that promotes economic case resolution and judicial
                                    efficiency.
            .
    IIII I ;,-.    :Aa       .k :
                                        The following organizations endorse the goal of
Consumer Attorneys
Association of Los Angeles          promoting efficiency in litigation and ask that counsel
                                    consider using these stipulations as a voluntary way to
                                    promote communications and procedures among counsel
                                    and with the court to fairly resolve issues in their cases.

                                    • Los Angeles County Bar Association Litigation Section•
Southern California
Defense Counsel
                                                  • Los Angeles County Bar Association
Alsocunagalrara owe
                                                  Labor and Employment Law Section•
                  ware:min


Association of
Business Trial Lawyers                  • Consumer Attorneys Association of Los Angeles•


                                             • Southern California Defense Counsel•


                                            • Association of Business Trial Lawyers•

Cellfonnte Employment
Lawyers Aimeeladen
                                         *California Employment Lawyers Association*


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   LASC Approved 4-11
   For Optional Use
  Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 38 of 94 Page ID #:42




NAMEANDAPARES5 OF ATIORNEYCII PARTY   wmicar ATIORNEY.                 STAMINA NUMBER            Rained for lisdee Flk Stamp



                              -




          TELEPHONE NO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (H ams):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT.                                                                                             •

                                                                                        onae NUMBER:
                   STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

     The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
             the. moving party first makes a written request for an Informal Discovery Conference pursuant
             to the terms of this stipulation.

     2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
        and determine whether it can be resolved Informally. Nothing set forth herein will preclude a
        party from making a record at the conclusion of an Informal Discovery Conference, either
        orally or in,writing.

     3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
        presented, a party may request an Informal Discovery Conference pursuant to the following
        procedures:

                a. The party requesting the Informal Discovery Conference will:

                    i. File a Request for Informal Discovery Conference with the clerks office on the
                          approved form (copy attached) and deliver a courtesy, conformed copy to the
                          assigned department;

                   II. Include a brief summary of the dispute and specify the relief requested; and

                  ill. Serve the opposing party pursuant to any authorized or agreed method of service
                         that ensures that the opposing party receives the Request for Informal Discovery
                         Conference no later than the next court day following the filing.

                b. Any Answer to a Request for informal Discovery Conference must:

                    i. Also be filed on the approved form (copy attached);

                   II. Include a brief summary of why the requested relief should be denied;
     LACIV 036 (new)
     LASC Approved 04111                      STIPULATION — DISCOVERY RESOLUTION
     For Optional Use                                                                                               Pagel of 3
Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 39 of 94 Page ID #:43




                                                                               CASENUMSElt




                      Be filed within two (2) court days of receipt of the Request; and

           iv. Be served on the opposing party pursuant to any authorized or agreed upon
                 method of service that ensures that the opposing party receives the Answer no
                 later than the next court day following the filing.

     c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
        be accepted.

     d. If the Court has not granted or denied the Request for Informal Discovery Conference
        within ten (10) days following the filing of the Request, then it shall be deemed to have
        been denied. If the Court acts on the Request, the parties will be notified whether the
        Request for Informal Discovery Conference has been granted or denied and, if granted,
        the date and time of the Informal Discovery Conference, which must be within twenty (20)
        days of the filing of the Request for Informal Discovery Conference.

     e. If the conference is not held within twenty (20) days of the filing of the Request for
        Informal Discovery Conference, unless extended by agreement of the parties and the
        Court, then the Request for the Informal Discovery Conference shall be deemed to have
        been denied at that time.

 4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

    It is the understanding and intent of the parties that this stipulation shall, for each discovery
    dispute to which it applies, constitute a writing memorializing a 'specific later date to which
    the propounding [or demanding or requesting] party and the responding party have agreed in
    writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(0, and
    2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



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EASG Approved 04111             STIPULATION — DISCOVERY RESOLUTION
For Optional Use                                                                             Page 2 of 3
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  MiORTTME                                                         CASeHLONER:




  The following parties stipulate:

  Date:
                (TYPE OR PRINT NAME)                             (ATTORNEY FOR PLAINTIFF)
  Date:
                (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
  Date:
                (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
  Date:
                (TYPE CR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
 Date:
                (TYPE OR PRINT NAME)                    (ATTORNEY FOR
 Date:
                (TYPE OR PRINT NAME)                    (ATTORNEY FOR
 Date:
               (TYPE OR PRINT NAME)                     (ATTORNEY FOR




 LAUD/ 036 (new)
 LAW Approved 04/11            STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                           Page 3 of 3
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         TELEPHONE NO.:                           FAX NO. (Optional):
 MAAR. ADDRESS (Optional):
   ATTORNEY FOR (Hamer
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:       1

DEFENDANT:

                                                                                      CASE NUMBER.
         STIPULATION — EARLY ORGANIZATIONAL MEETING

     This stipulation is Intended to encourage cooperation among the parties at an early stage in
     the litigation and to assist the parties in efficient case resolution.
     The parties agree that:
     1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:
             a. Are motions to challenge the pleadings necessary? if the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? if so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core);
         c. Exchange of names and contact information of witnesses;
         d. Any insurance agreement that may be available to satisfy part or all of a judgment,. or to
            Indemnify or reimburse for payments made to satisfy a judgment

         e. Exchange of any other information that might be helpful to facilitate understanding, handling,
            or resolution of the case in a manner that preserves objections or privileges by agreement;

         f. Controlling issues of law that, if resolved early, will promote efficiency and economy In other
            phases of the case. Also, when and how such issues can be presented to the Court;

         g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues Is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
    LAM/ 229 (Rev 02/15)
    tASC Approved 04111          STIPULATION — EARLY ORGANIZATIONAL MEETING
    For Op0onal Use                                                                                             Page 1 o12
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  SHORT   Tate                                                                   1   CASE NUMBER




                 discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                 complaint;

         h. Computation of damages, including documents, not privileged or protected from disclosure, on
             which such computation is based;

         I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
             www.lacourt.ora under "Civr and then under "General information").
 2.              The time for .a defending party to respond to a complaint or cross-complaint will be extended
                 to                          for the complaint, and                             for the cross-
                         (INSERT DATE)                                      (INSERT DATE)
             complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
             and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
             been found by the Civil Supervising Judge due to the case management benefits provided by
             this Stipulation. A copy of the General Order can be found at www.lacourt.ora under "Civil",
             click on "General information", then click on "Voluntary Efficient Litigation Stipulations".
 3.          The parties will prepare a Joint report titled "Joint Status Report Pursuant to initial Conference
             and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
             results of their meet and confer and advising the Court of any way It may assist the parties'
             efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
             the Case Management Conference statement, and file the documents when the CMC
             statement Is due.
 4.          References to "days" mean calendar days, unless otherwis' e noted. If the date for performing
             any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
             for performing that act shall be extended to the next Court day
 The following parties stipulate:
 Date:

                   (TYPE OR PRINT NAME)                                     (ATTORNEY FOR PLAINTIFF)
 Date:
                                                                D
                   (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
Date:

                   (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
Date:

                   (ME OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                   (TYPE OR PRINT NAME)                               (ATTORNEY FOR
Date:

                   (TYPE OR PRINT NAME)                               (ATTORNEY FOR
Date:

                  (TYPE OR ITRINT NAME)                               (ATTORNEY FOR


LACIV229 (Rev 04/11
LASC Approved Uri 5)         STIPULATION — EARLY ORGANIZATIONAL MEETING                                Page 2 <42
 Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 43 of 94 Page ID #:47




WOMAN) =MSS OPATTORNEY OR PAFtTYVIATMCUr MORNEY:                       6TATE MUMMER                          Rurvalfor aursFbAlarup




         TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (00011•1):
    ATTORNEY FOR (Nair*:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

                                                                                                    GAGE NUM Mit
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the Parties)
     1. This document relates to:
           O Request for Informal Discovery Conference
           ID      Answer to Request for Informal Discovery Conference
     2. Deadline for Court to decide on Request:                    (insert date 10 calendar days following filing of
             the Request).
     3. Deadline for Court to hold Informal Discovery Conference:                                              (Insert date 20 calendar
             days following filing of the Request).
     4. For a Request for Informal Discovery Conference, briefly describe the nature of the
        discovery dispute, including the facts and legal arguments at Issue. For an Answer to
        Request for Informal Discovery Conference, 121.4i  1 de-scribe why the Court should deny
        the requested discovery, Including the facts and legal arguments at Issue.




    LACIV 094 (nevi)                           INFORMAL DISCOVERY CONFERENCE
    IASC Approved 04111
    For Optional Use                   (pursuant to the Discovery Resolution Stipulation of the parties)
  Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 44 of 94 Page ID #:48




Howe Ara moms OPATTORNMY OR PPM Willtelif ATTORNEY:                STATE MR NUMBER                Itsurred WOW. FM Slaw




                                                                                                                  ,


          TELEPHONE NO.:                              FM NO. (OpEonal):
 E-MAIL ADDRESS (OpEonal):
    ATTORNEY FOR IName):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                         ,
COURTHOUSE ADDRESS:
                                                                                     •
PLAINTIFF:

DEFENDANT:

                                                                                         CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


     This stipulation is intended to provide fast and informal resolution of evidentiary
     issues through diligent efforts to define and discuss such issues and limit paperwork.


     The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.
     2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

     3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



    tACIV 075 (new)
    IASC Approved 04111             STIPULATION AND ORDER — MOTIONS IN LIMINE
    For Optional We                                                                                             Page 1012
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 1114ORTITTIE                                                CASENUMBEFt




 The following parties stipulate:

 Date:

                (TYPE OR PRINT NAME)                     (ATTORNEY FOR PLAINTIFF)
 Date:

                (TYPE OR PRINT NAME),                   (ATTORNEY FOR DEFENDANT)
 Date:

                (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
 Date:

                (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
 Date:

                (TYPE OR PRINT NAME)                (ATTORNEY FOR
 Date:

                (TYPE OR PRINT NAME)                (ATTORNEY FOR
 Date:

                (TYPE OR PRINT NAME)                (ATTORNEY FOR



 THE COURT SO ORDERS.

  Date:
                                                             JUDICIAL OFFICER




LAM 075 (no)
LASC Approved 04111      STIPULATION AND ORDER— MOTIONS IN LIMINE               Page 2 of 2
    Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 46 of 94 Page ID #:50




                            Superior Court of California
                              County of Los Angeles




               ALTERNATIVE DISPUTE RESOLUTION (ADR)
                      INFORMATION PACKET


                The person who files a civil lawsuit (plaintiff) must include the ADR information
                Packet with the complaint when serving the defendant. Cross-complainants must
                serve the ADR Information Packet on any new parties named to the action
                together with the cross-complaint.           .
               There are a number of ways to resolve civil disputes without having to sue
               someone. These alternatives to a lawsuit are known as alternative dispute
               resolution (ADR). .

               In ADR, trained, impartial persons decide disputes or help parties decide disputes
               themselves. These persons are called neutrals. For example, in mediations, the
               neutral is the mediator. Neutrals normally are chosen by the disputing parties or,by
               the court. Neutrals can help resolve disputes without having to go to court.




                                                                             '




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
    Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 47 of 94 Page ID #:51




 Advantages of ADR
    • Often faster than going to trial
    • Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
    • May permit more participation, allowing parties to have more control over the outcome.'
    • Allows for flexibility in choice of ADR processes and resolution of the dispute.
    • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
       mutually agree to remedy.
    • There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
       stress.

Disadvantages of ADR - ADR may not be suitable for every dispute.
   • If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
      jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
   • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
      dispute.
   • The neutral may charge a fee for his or her services.
   • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
      costs of trial, such as attorney's fees and expert fees.


The Most Common Types of ADR

    •   Mediation

        In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

             •   Mediation is particularly effective when the parties have a continuing relationship, like
                 neighbors or business people. Mediation is also very effective where personal feelings are
                 getting in the way of a resolution. This is because mediation normally gives the parties a chance
                 to express their feelings and find out how the other sees things.

            •    Mediation may not be effective when one party is unwilling to cooperate or compromise or
                 when one of the parties has a significant advantage in power over the others Therefore, it may
                 not be a good choice if the parties have a history of abuse or victimization.




LAADR 005 (Rev. 03/17)
MSC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                      Page 2 of 4
    Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 48 of 94 Page ID #:52




                    Arbitration

                    In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                    side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                    trial, and the rules of evidence may be relaxed. Arbitration may be either 'binding" or 'non-
                    binding." Binding arbitration means the parties waive their right to a trial and agree to accept
                    the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                    request a trial if they reject the arbitrator's decision.

                   Arbitration is best for cases where the parties want another person to decide the outcome of
                   their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                   also be appropriate for complex matters where the parties want a decision-maker who has
                   training or experience in the subject matter of the dispute.


             12   Mandatory Settlement Conference (MSC)

                   Settlement Conferences are appropriate In any case where settlement Is an option.
                   Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                   a case is set for trial. The parties and ttleir attorneys meet with a judge who devotes his or her
                   time exclusively to preside over the MSC. The judge does not make a decision in the case but
                   assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                   settlement.

                   The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                   charge and staffed by experienced sitting civil judges who devote their time exclusively to
                   presiding over MSCs. The judges participating in the judicial MSC program and their locations
                   are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                   at http://www.lacourt.ord. This program Is available in general jurisdiction cases with
                   represented parties from independent calendar ((C) and Central Civil West (CCW) courtrooms.
                   In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                   eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
                   asbestos calendar court in CCW.

                   In order to access the Los Angeles Superior Court MSC Program the judge In the IC courtroom,
                   the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                   the program. Further, all parties must complete the information requested in the Settlement
                   Conference Intake Form and email the completed form to mscdept18@lacourtorg.




tAADR 005 (Rev. 03/17)
IASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                         Page 3 014
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 Additional Information

 To locate a dispute resolution program or neutral in your community:

     •   Contact the California Department of Consumer Affairs (www.dca.ca.gov ) Consumer Information
         Center toll free at 800-952-5210, or;
     •   Contact the local bar association (http://www.lacba.orgn or;
     •   Look in a telephone directory or search online for 'mediators; or "arbitrators."

 There may be a charge for services provided by private arbitrators and mediators.


 A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
 http://calbanca.gov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograms.asp019



To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

htto://css.lacountv.gov/programs/dIsoute-resolution-oroeram-dra



                                  County of Los Angeles Dispute Resolution Program
                                          3175 West 6th Street, Room 406
                                             Los Angeles, CA 90020-1798
                                                 TEL: (213) 738-2621
                                                 FAX: (213) 386-3995




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                     Page 4 of 4
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 50 of 94 Page ID #:54



                                                                                                     Romano:I kr Clerk's Fta Slamp
                   SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:
                                                                                                              FILED
  Stanley Mosk Courthouse                                                                           &Tarim Court of Ceffarris
  111 North Hill Street, Los Angeles, CA 90012                                                       Courityof Los Angales
                                                                                                         11/29/2018
                       NOTICE OF CASE ASSIGNMENT                                           StattriR. Carb3r,ExeouSveOlkeri Otaai Ceti!

                                                                                             By:                    or
                                                                                                           Patrice Offd              Depuly
                          UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:

   Your case is assigned for all purposes to the judicial officer Indicated below.   18STCV06896

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT


    al
                ASSIGNED JUDGE
          Michelle Williams Court
                                             DEPT
                                            74
                                                       ROOM
                                                                 _              ASSIGNED JUDGE                      DEPT         ROOM




    Given to the Maintiff7Cross-Complainant/Attorney of Record    Sherri R. Carter, Executive Officer / Clerk of Court
    on 12/0312018                                                          By   Patrice Offord                                  , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6118)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
         Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 51 of 94 Page ID #:55




                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules. of Court, Title 3, Division 7, as applicable in the Superior Court, arc summarized
 for your assistance.
 APPLICATION
 The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.
 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent
 CHALLENGE TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
 to a judge, or if a party has not yet appeared, within 15 days of the first appearance.
TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:
COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.
FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in lirnine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.
SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions Is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.
Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.
*ProvisionalP, Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACiV 190 (Rev 6118)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05108
   Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 52 of 94 Page ID #:56




                           Superior Court of California
                             County of Los Angeles




               ALTERNATIVE DISPUTE RESOLUTION (ADR)
                      INFORMATION PACKET


               The person who files a civil lawsuit (plaintiff) must include the ADR information
               Packet with the complaint when serving the defendant. Cross-complainants must
               serve the ADR Information Packet on any new parties named to the action
               together with the cross-complaint.

               There are a number of ways to resolve civil disputes without having to sue
               someone. These alternatives to a lawsuit are known as alternative dispute
               resolution (ADR). .

               In ADR, trained, Impartial persons decide disputes or help parties decide disputes
               themselves. These persons are called neutrals. For example, in mediations, the
               neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
               the court. Neutrals can help resolve disputes without having to go to court.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
  Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 53 of 94 Page ID #:57




Advantages of ADR
   • Often faster than going to trial
   • Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
   • May permit more participation, allowing parties to have more control over the outcome.
   • Allows for flexibility in choice of ADR processes and resolution of the dispute.
   • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
      mutually agree to remedy.
   • There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
      stress.

Disadvantages of ADR - ADR may not be suitable for every dispute.
   • If ADR Is binding, the parties normally give up most court protections, including a decision by a judge or
      jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
   • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
       dispute.
   • The neutral may charge a fee for his or her services.
   • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
       costs of trial, such as attorney's fees and expert fees.


The Most Common Types of ADR

    •   Mediation

        In mediation, a neutral (the mediator) assists the parties In reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

            •     Mediation Is particularly effective when the parties have a continuing relationship, like
                  neighbors or business people. Mediation is also very effective where personal feelings are
                  getting in the way of a resolution. This is because mediation normally gives the parties a chance
                  to express their feelings and find out how the other sees things.

            a   Mediation may not be effective when one party is unwilling to cooperate or compromise or
                 when one of the parties has a significant advantage in power over the other. Therefore, it may
                 not be a good choice if the parties have a history of abuse or victimization.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal Rules of Court, rule 3.221

                                                       Page 2 014
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             •   Arbitration

                 In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                 side and then decides the outcome of the dispute. Arbitration is typically less formal than a '
                 trial, and the rules of evidence may be relaxed. Arbitration may be either 'binding" or "non-
                 binding." Binding arbitration means the parties waive their right to a trial and agree to accept
                 the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                 request a trial if they reject the arbitrator's decision.

                 Arbitration is best for cases where the parties want another person to decide the outcome of
                 their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                 also be appropriate for complex matters where the parties want a decision-maker who has
                 training or experience in the subject matter of the dispute.


             • Mandatory Settlement Conference (MSC)

                 Settlement Conferences are appropriate in any case where settlement Is an option.
                 Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                 a case is set for trial. The parties and ttleir attorneys meet with a judge who devotes his or her
                 time exclusively to preside over the MSC. The judge does not make a decision in the case but
                 assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                 settlement.

                 The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                 charge and staffed by experienced sitting civil judges who devote their time exclusively to
                 presiding over MSCs. The judges participating in the judicial MSC program and their locations
                 are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                 at htto://www.lacourt.ord. This program is available In general Jurisdiction cases with
                 represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                 In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                 eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
                 asbestos calendar court in CCW.

                 In order to access the Los Angeles Superior Court MSC Program the Judge in the IC courtroom,
                 the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                 the program. Further, all parties must complete the information requested in the Settlement
                 Conference intake Form and email the completed form to mscdept18@lacourt.org .




LAMA 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

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 Additional Information

To locate a dispute resolution program or neutral In your community:

     •   Contact the California Department of Consumer Affairs (www.dca.ca .Rov) Consumer information
         Center toll free at 800-952-5210, or;
     •   Contact the local bar association (http://www.iacba.orgn or;
     •   Look in a telephone directory or search online for "mediators; or "arbitrators."

There may be a charge for services provided by private arbitrators and mediators.


A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
littp://calbar.ca gov/AttorneystMemberServicesgeeArbitration/App rovecfPrograms.asp 019



To request Information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

http://css.lacountygoviprograms/dIspute-resolution-program-dro/



                                  County of Los Angeles Dispute Resolution Program
                                          3175 West 6th Street, Room 406
                                             Los Angeles, CA 90020-1798
                                                 TEL: (213) 738-2621
                                                 FAX: (213) 386-3995




LAMM 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

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                                VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                   The Early Organizational Meeting Stipulation, Discovery
                                Resolution Stipulation, and Motions In Limine Stipulation are
 Superior Court of California   voluntary stipulations entered into by the parties. The parties
 County of Los Angeles

                                may enter into one, two, or all three of the stipulations;
                                however, they may not alter the stipulations as written,
                                because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                These stipulations are meant to encourage cooperation
 Litigation Section

 Los Angeles County
                                between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Law Section         manner that promotes economic case resolution and judicial
                                efficiency.
    1   Ii                          The following organizations endorse the goal of
 Consumer Attorneys
 Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                                consider using these stipulations as a voluntary way to
                                promote communications and procedures among counsel
                                and with the court to fairly resolve issues in their cases.

                                +Los Angeles County Bar Association Litigation Section.
 Southern California
 Defense Counsel
                                              • Los Angeles County Bar Association

 .104.44 aigirak
         O       L.ms
                                              Labor and Employment Law Section•
             40.00 ■■••


 Association of
 Business Trial Lawyers             • Consumer Attorneys Association of Los Angeles*


                                          *Southern California Defense Counsel*


                                         • Association of Business Trial Lawyers*
     ' "C7411fA
 California Employment
 Lawyers Association
                                     • California Employment Lawyers Association•


    LACIV 230 (NEW)
    LASC Approved 4-11
    For Optional Use
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NAME APIOADORES5 OF AMORREY OR PARTY Wifiiour ATTORNEY,    •          • STATUS ILAR NUMBER           R.anod br Cidn RA Stamp




             TELEPHONE No.:                               Pm No. (Optional):
 E-MAIL ADDRESS (Optima!):
    ATTORNEY FOR (Nan*:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                               .             CASE NUMBER

                     STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the. moving party first makes a written request for an Informal Discovery Conference pursuant
         'to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved Informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.     File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     II. Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for informal Discovery
                             Conference no later than the next court day following the filing.

                 b. Any Answer to a Request for Informal Discovery Conference must:

                     I.      Also be filed on the approved form (copy attached);

                             Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04111                      STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                              Page I et 3
Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 58 of 94 Page ID #:62




  WORTTITLE:                                                                   CASEMACIfslt




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

       c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
          be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

  4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
     without the Court having acted or (c) the Informal Discovery Conference is concluded without
     resolving the dispute, then a party may file a discovery motion to address unresolved issues.

  5. The parties hereby further agree that the time for making a motion to compel or other
     discovery motion is toiled from the date of filing of the Request for Informal Discovery
     Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
     filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
     by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a °specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

  6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
     an order shortening time for a motion to be heard concerning discovery.

  7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
     terminate the stipulation.

  8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
     any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
     for performing that act shall be extended to the next Court day.



  LACIV 038 (new)
  LASC Approved 04111           STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                            Page 2 of 3
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  8I1ORTYITLE:                                                              CNIENUMBEII:




  The following parties stipulate:

  Date:
                         (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
  Date:

                         (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
  Date:
                              OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
  Date:
                         (TYPE CR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
  Date:
                         (TYPE OR PRINT NAME)                   (ATTORN EY FOR
  Date:
                         (TYPE OR PRINT NAME)                   (ATTORNEY FOR
  Date:
                         (TYPE OR PRINT NAME)                   (ATTORNEY FOR




 LACIV 03+3      (new)
 LASC Approved 04111                    STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                                   Page 3 of 3
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NAME AND ADDRESS OF ATTORNEY OR PARTY IM mom ATTORNEY:                 TIME VAR mem             nivirm Nr mas rusnamo




          TELEPHONE NO.:                                 FAX NO. (Optkmal):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Nam) .
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

                                                                                       CASE NUMBER.

           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage In
      the litigation and to assist the parties in efficient case resolution.
      The parties agree that
      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
             whether there can be agreement on the following:
             a. Are motions to challenge the pleadings necessary? if the issue can be resolved by
                amendment as of right, or If the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise Issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty In the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an Incident or
                police report, medical records, and repair or maintenance records could be considered


             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                Indemnify or reimburse for payments made to satisfy a judgment

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case In a manner that preserves objections or privileges by agreement;

             f.   Controlling Issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
     LACIV 229 (Rev 02/15)
     LASC Approved 04111              STIPULATION — EARLY ORGANIZATIONAL MEETING
     For Optional Use                                                                                          Pagel of 2
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  SHORT TITLE.                                                                        CABE NUMBER




                 discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                 complaint;

        h. Computation of damages, including documents, not privileged or protected from disclosure, on
            which such computation is based;

        I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
            www.lacourtoro under "Civr and then under "General Information").
 2.              The time fora defending party to respond to a complaint or cross-complaint will be extended
                 to                         for the complaint, and                             for the cross-
                          (INSERT DATE)                                        (INSERT DATE)
                 complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                 and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                 been found by the Civil Supervising Judge due to the case management benefits provided by
                 this Stipulation. A copy of the General Order can be found at www.lacourtorq under "Civil',
                 click on "General Informaffon", then click on "Voluntary Efficient Litigation Stipulations".

 3.              The parties will prepare a Joint report titled "Joint Status Report Pursuant to Initial Conference
                 and Early Organizational Meeting Stipulation, and If desired, a proposed order summarizing
                 results of their meet and confer and advising the Court of any way it may assist the parties'
                 efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                 the Case Management Conference statement, and file the documents when the CMC
                 statement is due.

 4.              References to "days" mean calendar days, unless otherwise noted. If the date for performing
                 any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                 for performing that act shall be extended to the next Court day

 The following parties stipulate:
 Date:

                    (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
 Date:

                    (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
 Date:

                    (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
 Date:

                    (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
 Date:

                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
 Date:

                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
 Date:

                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


 LACIV 229 (Rev 02/15)
 LASC Approved 04/11           STIPULATION —EARLY ORGANIZATIONAL MEETING                                   Page 2 of 2
  Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 62 of 94 Page ID #:66




 NAME AAM:ROOS OCATTORNEY OR PARTYWHOUr ATTORNEY:                          STATE MAMMA                          Rournd icy OM Fig Sim




          TELEPHONE NO.:                                     FAX NO. (Optional):
  E-MAJL ADDRESS (Optional):
_    ATTORNEY FOR 1,Narnel:
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:

 P LAI NTI FF:

 DEFENDANT:

                                                                                                       CASE NUM OEM
                  INFORMAL DISCOVERY CONFERENCE
            (pursuant to the Discovery Resolution Stipulation of the parties)
        1. This document relates to:
              El      Request for Informal Discovery Conference
                      Answer to Request for Informal Discovery Conference
        2. Deadline for Court to decide on Request:                           (Insert date 10 calendar days following filing of
                 the Request).
        3. Deadline for Court to hold informal Discovery Conference:                                              (Insert dale 20 calendar
                 days following filing of the Request).
        4. For a Request for Informal Discovery Conference, briefly describe the nature of the
           discovery dispute, Including the facts and legal arguments at Issue. For an Answer to
           Request for informal Discovery Conference, briefly describe why the Court should deny
           the requested discovery, including the facts and legal arguments at issue.




       LAGIV 094 (nevi()                         INFORMAL DISCOVERY CONFERENCE
       LASC Approved 04111
       For Optional Use                    (pursuant to the Discovery Resolution Stipulation of the parties)
 Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 63 of 94 Page ID #:67




NAM APX) ARIMESS OP AMAMI" OR PANTY 'WHOM ATTORNEY:                 WATE MAR NUMBER            limented kr Meat% !Imp




                                                                                                                '



         TELEPHONE NO.:                               FAX NO. (Optional):
E-MAIL ADDRESS (Ophonal):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:

DEFENDANT:

                                                                                      GAVE NUMBER:

              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.
      2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                Joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.
      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      tASC Approved 04111            STIPULATION AND ORDER MOTIONS IN LIMINE
      For Optional Use                                                                                         Page 1 of 2
Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 64 of 94 Page ID #:68




  SHORT/Me                                                  CASENUMEIER




  The following parties stipulate:

  Date:

              (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
  Date:

              (TYPE OR PRINT NAME),                    (ATTORNEY FOR DEFENDANT)
  Dale:

              (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:

              (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:

              (TYPE OR PRINT NAME)                 (ATTORNEY FOR
  Date:

              (TYPE OR PRINT NAME)                 (ATTORNEY FOR
  Date:

              (TYPE OR PRINT NAME)                 (ATTORNEY FOR



 THE COURT SO ORDERS.

   Date:
                                                            JUDICIAL OFFICER




 LACIV 075 (new)
 LASC Approved 04111    STIPULATION AND ORDER— MOTIONS IN LIMINE               Page 2 of 2
            •                                                       •                                           ••
          Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 65 of 94 Page ID #:69


                                                                                                                                                                       CM- 01 0
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name,              r number, and address):                                                      FOR COURT USE ONLY
 — Rodney S. Diggs, Esq. (SON 274459)             SBN:                                                                               CONFORMED, COPY
   IVIE MCNEILL & WYATT                                                                                                                OPIGNAL. FILED
                                                                                                                                    Superior Court ol
   444 S. Flower Street, Suite 1800, LOS ANGELES,'CA 90011                                                                            County    Lou Ailgeltio
            TELEPHONE NO.; 213-489-0028                            FAX NO.; 2 13-489-0552
   ATTORNEY FOR Mama): Plaintiff         David Hanna                                                                                      NOV 2 9 2013
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
          STREET ADDRESS: 111     North Hill Street                                                                        Sherri R. Caner, Executive Officer/Clerk
          MAILING ADDRESS: I   ll North Hill Street                                                                                By              Deputy
                     Angeles, 90012
         CITY AND ZIP CODE: Los
                         Mosk Courthouse
                BRANCH NAME: Stanley
   CASE NAME: David Hanna v. Sierra Network, Inc., et al

                                                                                                                      CASE NUIll
         CIVIL CASE COVER SHEET                                         Complex Case Designation
           Unlimited
           (Amount
                                  1i Limited
                                         (Amount                 E] Counter                I-1
                                                                                          Joinder
                                                                                                            JUDGE;
                                                                                                                                       8fQ,‘Nop.o
           demanded                      demanded Is          Filed with first appearance by defendant
           exceeds $25,000)              $25,000 or less)         (Cal. Rules of Court, rule 3.402)          DEPT:
                                            Items 1 6 -below, must  be completed   (see Instructions on pane 2).
 1. Check one box below for the case type that best describes this case;
     Auto Tort                                                Contract                                    Provisionally Complex Civil Litigation
     ED Auto (22)                                                   Breach of contract/warranty (00       (Cal. Rules of Court, rules 3.400-3.403)
     El Uninsured motorist (46)                                    1    Rule 3.740 Collections (09)       LII        Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                 n Other collections (09)                          Construction defect (10)
     Damage/Wrongful Death) Tort                                        Insurance coverage (18)           E-1   M ass tort (40)
     I      ]
         Asbestos (04)                                                                                    I I   Securities litigation (28)
     71 Product liability (24)                                                                            1:=1 Environmental/Toxic tort (30)
     I 1         Medical malpractice (45)                    ni
                                                             Real PrOcondemnation
                                                                     Eomi      y dtoram:in/
                                                                       tpheerilecwi
                                                                               nt        (317n)verse      E.] Insurance coverage claims arising from the
     1-1         Other 131/PDNYD (23)                                                   (14)                    above listed provisionally complex case
     Non-PlaMiWO (Other) Tort                                ri Wrongful eviction (33)                          types (41)

     ED Business tort/unfair business practice (07)          I I        Other real properly (26)          Enforcement cd Judgment
     1-1 Civil rights (08)                                    Unlawful Detainer                           E3         Enforcement of judgment (20)
     I 1         Defamation (13)                             fl    Commercial (31)                        Miscellaneous Civil Complaint
     El          Fraud (16)                                  n Residential (32)                           n RICO (27)
     El          Intellectual property (19)                  [=1 Drugs (38)                               1 1    O ther complaint (not specified above) (42)
     I I         Professional negligence (25)                Judicial Review                              Miscellaneous Civil Petition
     n Other non-Pl/PD/WD tort (35)                          ni Asset forfeiture (05)
                                                                                                          E.1        Partnership and corporate governance (21)
     Employment                                              F1 P etition re: arbitration award (11)      EJ     Oilier petition (not specified above) (43)
     n Wrongful termination (36)                             I-1 Writ of mandate (02)
     [-I Other employment (15)                                  I Other judicial review (391
2. This case LI is          El is not complex under rule 3 .400 of the California Rules of Court. If the case Is complex, mark the
   factors requiring exceptional Judicial management:
     a.   II
           Large number of separately represented parties                            d. C=1 Large number of witnesses
           Extensive motion practice raising difficult or novel                      e Li Coordination with related actions pending In one or more courts
           Issues that will be time-consuming to resolve                                     In other counties, states, or countries, or in a federal court
     c. Ei Substantial amount of documentary evidence                                f. ED Substantial postjudgment judicial supervision
S. Remedies sought (check all that apply): a. In monetary b. El nonmonetary; declaratory or Injunctive relief c. I X !punitive
4. Number of causes of action (speci(y):Thirteen (13)
6. This case            1-1
                      is I x I is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. ( ou jay jjl eJorin CM-0 5.)
Date:November 28, 2018
Rodney S Diggs, Esq. (SBN 274459)
                                  crypE oFt PRINT NAmEj                                                       SURE c      pAInvoRArronNsYFan pR1
                                                                                    NOTICE
  • Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Qourt„.rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet In addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                       Papc 1 et
Form Actplad for Mandatary Use                                                                                           Cal. Rules of Coed, rulta 230. 3.220, 3.400-3.403, 3.740;
  Judicial Cannel el California                               CIVIL CASE COVER SHEET                                            Cal. Standards of Adios] Administration, std. 3.10
  CM-010 [Rev. Jury I,2007j                                                                                                                                www.ccnfaca,gav
                                                                                                                                                   Wastiaw Doc & Form BaHder•
       Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 66 of 94 Page ID #:70



                                                                                                                                       CM-010
                                    INSTR..... clONS ON HOW TO COMPLETE THE Gk.-. R SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) In a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This Information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In Item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you In completing the sheet, examples of the cases that belong under each case type In Item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed In a sum stated to be certain that Is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that It will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case Is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
completing the appropriate boxes In items 1 and 2, if a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Cid Litigation (Cal.
    Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-9.403)
        Damage/Wrongful Death                           Breach or lientaYLease                           Antitrust/Trade Regulation (03)
    Uninsured Motorist (46) (if the                         Contraet (not unlawful detainer              Construction Defect (10)
          case involves an uninsured                               or wrongful eviction)                 'Claims Involving Mast Tort (40)
          Motorist elaiMsubject to                        Contract/Warranty Breach-Seller                Securities Litigation (28)
          arbitration,' cheat( this item                      Plaintiff (not fraucter negligence)         Environmental/Toxic Part (30)
          'instead of AWN                                 Negligent Breach of Contract/                   InsuranceCoverageOlairns
                                                               Warranty
                                                                    .. . .    .. .         .                  (arising from provisionally complex
Other PUPD/WD1personal Injury/
Property Darnage/Wrongful Death)                         Other Breach .of Contract/Warranty                  'case (pe listeclabove) (41)
Tort                                                Collections .(e4., money owed, open              Enforcement of Judgment.
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
         Asbestos property Damage                        Collection CaSe-Seller Plaintiff                   Abstract of Judgment (OUI of
         Asbestos Personal Injury!                      Other Promissory Note/collections
                                                             Case                                             Confession .of Judgment '(non-
              Wrongful Death
     Product Liability (riot ashOstoa. or           Insurance. Coverage (not provisionally                        domestic relations)
          tokicfenvirenmental) (24)                      complex) (18)                                        Sister Stale Judgment
     Medical Malpractice.(45)                            Auto Subrogation                                    Administrative Agency Award
         Medical.MOIPI'aolice-                           Other COverage                                          (not berpaid Wet)
              Physicians 4. Surgeons                Other Centred (37)                                       Petition/Certifieallortrif Entry of
                                                                                                                Judgment on Unpaid Taxes
         Other Professional Health Care                  Contractual Fraud
              Malpractice                               _01110(COntraCt Dispute                             :Other Enforcement of Judgment
                                                                                                                  Case'
     Other PI/PD/WD (23)                         Real Property
                                                    Eminent Domain/inverse                           Miscellaneous Chill Complaint
         Premises Liability (e.g., slip
                                                        Condemnation (14)                               RICO (R7)
              and.fall)
         Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                              40;1+4(42)
              (e.g., assault, vandalism)            Other Real Property (e.g„ouiel line) ( 26)               •Declaratory Relief Only
         Intentional Infliction of                      Writ of Possession Of Real Property                  Injunctive Relief Only (non-
              Emotional Distress                        Mortgage Foreclosure                                      harassment)
         Negligent Infliction of                        Quiet Title                                          Mechanics Lien
              Emotional Distress                        Other Real Properly (not eminent                     Other Commercial Complaint
          Other PI/PD/WD                                  domain, landlord/tenant, or                            Case (non-Ion/non-complex)
Non-PI/PD/WD (Other) Tort                                 foreclosure)                                       Other Civil Complaint
    Business Tort/Unfair Business                 Unlawful Detainer                                               (non-tort/non-complex)
       Practice (07)         ,                  ,    Commercial (31)                                 Miscellaneous Civil Petition
    Civil.Rights.(e4.,:diacrimination,               Residential (32)                                    Partnership and Corporate
        tette arrest) (not civil                     Drugs (36) (if the case involves illegal                Governance (21)
         harassinerit) (08)                              ditigs, Ohe.dr ithis. ffern; Olherdse,          Other Petition (not specified
    Defamation (4.-,slander, libel)                       tenon' ELS ComMercialti Residential)                above) (43)
           (1 $)      .                          Judicial Review                                             Civil Harassment
     Fracd.(10)                                      AsSet Forfeiture (o6)                                   WerkPlace . :Violence
     Intellectual Properly (19) .                    Petition :Rd:, Arbitration Award (11)                   Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (OR)                                           Abuse
         Legef.MalprUCtice                                Writ-Administrative Mandamus                       Election contest
         OtherPrefestional Malpractice                    Writ-Mandaintis on Limited Court                   PtilitiOrt for' Name Change
             (not moclicalorlegal)                            Case Mailer                                    Petition for Relief From Late
   Other Non-PUPDAND Tort (35)                          Writ-Other Limited Court Case                              Claim
Employment                                                  Review                                           Other Civil Petition
   Wrongful Termination (36)                         Other Judicial Review (39)
   Other Employment (15)                                 Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                            Commissioner Appeals,
mato (Rev. July 1.20071                                                                                                                      Page 2o12
                                                     CIVIL CASE COVER SHEET
           Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 67 of 94 Page ID #:71




  SHORT TITLE: Hanna V     Sierra Network, Inc., et al                                                  CASE NuMBER


                                                                                                                                        CAN'
                               CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                    Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                    chosen.

                                            Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be filed In the Stanley Mosk Courthouse, Central District.       7. Location where petitioner resides.
2. Permissive filing In central district.                                              8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                               9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                10. Location of Labor Commissioner Office.
                                                                                      11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                      non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                           B                                                           C
                     Civil Case Cover Sheet                                           Type of Action                                          Applicable Reasons -
                           Category No.                                              (Check only one)                                          See Step 3 Above

                             Auto (22)              0 A7100 Motor Vehicle - Personal Injury/Property DamageNVrongful Death                    1, 4, 11

                     Uninsured Motorist (46)        0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist               1, 4, 11


                                                    0 A6070 Asbestos Property Damage                                                          1, 11
                          Asbestos (04)
                                                    0 A7221 Asbestos - Personal Injury/Wrongful Death                                         1, 11

                      Product Liability (24)        0 A7260 Product liability (not asbestos or toxic/environmental)                           1, 4, 11

                                                    0 A7210 Medical Malpractice - Physicians & Surgeons                                       1, 4, 11
                    Medical Malpractice (45)                                                                  •
                                                    0 A7240 Other Professional Health Care Malpractice                                        1,4,11


                                                    0 A7250 Premises Liability (e.g., slip and fall)                                          1, 4, 11
                         Other Personal
                         Injury Property            0 A7230 intentional Bodily Injury/Property DamageNVrongful Death (e.g.,                   1, 4, 11
                        Damage Wrongful                       assault, vandalism, etc.)
                            Death (23)                                                                                                        1, 4, 11
                                                    0 A7270 intentional infliction of Emotional Distress
                                                                                                                                              1, 4, 11
                                                    0 A7220 Other Personal Injury/Property DamageANrongful Death




  LACIV 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
  LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                                Page 1 o14
                      Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 68 of 94 Page ID #:72




SHORT TITLE:              Hanna v Sierra Network, Inc., et al                                              CASE NUMBER

                                                                                                                            10‘w ir Ito(                 (,




                                       A                                                          B                                          •      dAlfrliial
                             Civil Case Cover Sheet                                         Type of Action                                   Reasons - See Step 3
                                  Category No.                                             (Check only one)                                        Above

                               Business Tort (07)         0 A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3

                                Civil Rights (09)         0 A6005 Civil Rights/Discrimination                                                1, 2, 3

                                Defamation (13)           0 A6010 Defamation (slander/libel)                                                 1, 2, 3


                                   Fraud (16)             0 A6013 Fraud (no contract)                                                        1, 2, 3


                                                          O A6017 Legal Malpractice                                                          1, 2, 3
                          Professional Negligence (26)
                                                          0 A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3


                                   Other (35)             0 A6025 Other Non-Personal injury/Property Damage tort                             1, 2.3

                           Wrongful Termination (36)      0 A6037 Wrongful Termination                                                       1, 2, 3

                                                          0 A6024 Other Employment Complaint Case                                            1, 2, 3
                            Other Employment (15)
                                                          0 A6109 Labor Commissioner Appeals                                                 10


                                                          0 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful        2, 5
                                                                   eviction)
                          Breach of Contract/Warranty                                                                                       2,5
                                      (06)                0 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                (not insurance)                                                                                              1, 2, 5
                                                          0 A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                             1, 2, 5
                                                          O A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                          0 A6002 Collections Case-Seller Plaintiff                                         5, 6, 11
                                Collections (09)
                                                          0 A6012 Other Promissory Note/Collectlons Case                                    5, 11
        a
                                                          0   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt              5. 6, 11
                                                                     Purchased on or alter January 1. 2014)

                           Insurance Coverage (18)        0 A6015 insurance Coverage (not complex)                                          1. 2, 5, 8

                                                          M A6009 Contractual Fraud                                                         1, 2,G 5

                              Other Contract (37)         0 A6031 Tortlous Interference                                                     1, 2, 3, 5
                                                          0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2, 3, 8, 9

                           Eminent Domain/inverse                                                             Number of parcels             2,6
                                                          0 A7300 Eminent Domain/Condemnation
                             Condemnation (14)

                            Wrongful Eviction (33)       0 A6023 Wrongful Eviction Case                                                     2,6


                                                         0 A6018 Mortgage Foreclosure                                                       2,6

                           Other Real Property (26)      0 A6032 Quiet Title                                                                2,6

                                                         0 A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

                         Unlawful Detainer-Commercial                                                                                       6, 11
                                                         13 A13021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                                      (31)
   UnlawfulDetainer




                         Unlawful Detainer-Residential                                                                                      8, 11
                                                         0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
                                     (32)
                             Unlawful Detainer-
                                                         0 A6020F Unlawful Detainer-Post-Foreclosure                                        2. 6, 11
                            Post-Foreclosure (341
                         Unlawful Detainer-Drugs (38)     0 A6022 Unlawful Detainer-Drugs                                                   2.6. 11



LACIV 109 (Rev 2/16)                                     CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
LASC Approved 03.04                                         AND STATEMENT OF LOCATION                                                       Page 2 of 4
                                                Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 69 of 94 Page ID #:73




SHORT rille                                       Hanna v Sierra Network, Inc., et al
                                                                                                                                      CAsE
                                                                                                                                             "n8STCV06896
                                                                  A                                                         B                                    C Applicable
                                                      Civil Case Cover Sheet                                          Type of Action                          Reasons - See Step 3
                                                           Category No.                                              (Check only one)                               Above

                                                       Asset Forfeiture (05)         0 A6108 Asset Forfeiture Case                                         2, 3, 6

                                                     Petition re Arbitration (11)    0 A6115 Petition to Compel/ConfirmNacate Arbitration
                 Judicial Review




                                                                                     El A6151 Writ - Administrative Mandamus                               2,8
                                                       Will of Mandate (02)          0 16152 Writ - Mandamus on Limited Court Case Matter                  2
                                                                                     0 16153 Writ - Other Limited Court Case Review

                                                    Other Judicial Review (39)       D A6150 OtherWrit /Judicial Review                                    2,8

                                                  Antitrust/Trade Regulation (03)    0 16003 Antitrust/Trade Regulation                                    1, 2, 8
             Provisionally Complex Litigation




                                                     Construction Defect (10)        0 A6007 Construction Defect                                           1, 2, 3

                                                    Claims Involving Mass Tort
                                                                                     0 16006 Claims Involving Mass Tort                                    1, 2, 8
                                                               (40)

                                                     Securities Litigation (28)      0 16035 Securities Litigation Case                                    1, 2, 8

                                                            Toxic Tort
                                                        Environmental (30)
                                                                                     0 16036 Toxic Tort/Environmental                                      1,2,3,     a
                                                   Insurance Coverage Claims                                                                               I, 2, 5, 8
                                                                                     0 A6014 insurance Coverage/Subrogation (complex case only)
                                                     from Complex Case (41)

                                                                                     0 A6141 Sister State Judgment                                         2, 6, 11
                                                                                     0 A6160 Abstract of Judgment                                         2,6

                                                            Enforcement              0 A6107 Confession ofJudgment (non-domestic relations)               2,9
                                                         of Judgment (20)            0 16140 Administrative Agency Award (not unpaid taxes)               2, 8
                                                                                     0 16114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2, 8
                                                                                     0 16112 Other Enforcement of Judgment Case                           2, 8, 9

                                                             RICO (27)               0 A6033 Racketeering (RICO) Case                                     1,2, 8
                         Civil Co mplaints
 Miscellaneous




                                                                                     0 16030 Declaratory Relief Only                                      1, 2, 8

                                                        Other Complaints             0 A6040 Injunctive Relief Only (not domestic/harassment)             2,8
                                                    (Not Specified Above) (42)       0 A6011 Other Commercial Complaint Case (non4ort/non-complex)        1, 2, 8
                                                                                    Cl A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2,8

                                                     Partnership Corporation
                                                                                     0 A6113 Partnership and Corporate Governance Case                    2, 8
                                                        Governance (21)

                                                                                     O A6121 Civil Harassment                                             2, 3, 9
                                                                                     0 16123 Workplace Harassment                                         2, 3, 9
                                                                                     Et 16124 Eider/Dependent Adult Abuse Case                            2, 3,9
                                                       Other Petitions (Not
                                                      Specified Above) (43)         0 16190 Election Contest                                              2
                                                                                    0 A6110 Petition for Change of Name/Change of Gender                  2,7
                                                                                    0 A6170 Petition for Relief from Late Claim Law                       2, 3.   a
                                                                                    0 16100 Other Civil Petition                                          2,8




LACIV1 09 (Rev 2/16)                                                                CIVIL CASE COVER SHEET ADDENDUM                                     Local Rule 2.3
LASC Approved 03-04                                                                    AND STATEMENT OF LOCATION                                          Page 3 of 4
            Case 2:19-cv-00211 Document 1-1 Filed 01/09/19 Page 70 of 94 Page ID #:74




 sHoRT TITLE:   Hanna v Sierra Network, Inc., et al                                             NUMBER

                                                                                         rs6         18S T CV 0-6 9 6
Step 4: Statement of Reason and Address:              Check the appropriate boxes for the numbers shown under Column C for the
             type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
             (No address required for class action cases).

                                                                      ADDRESS:
   REASON:
                                                                       14931 Gwenchris Court
    01.02.E(3.04.05.136.07. 08.0 9.010.011.



   CITY:                                      STATE
   Paramount                                 CA         90723


Step 5: Certification of Assignment:            I certify that this case is properly filed in the Central                  District of
             the Superior Court of California, County of Los Angeles [Code Civ. Proc„ §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: November 28, 2018
                                                                                      (SIGNAT              MIMS PARTY)




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:
       I. Original Complaint or Petition.

       2.    If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3.    Civil Case Cover Sheet, Judicial Council form CM-010.

      4.     Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
             02/16).

      5.     Payment In full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

      6.     A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010. if the plaintiff or petitioner is a
             minor under 18 years of age will be required by Court in order to issue a summons.

      7.     Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
             must be served along with the summons and complaint, or other initiating pleading in the case.




 LACIV 109 (Rev 2/16)                       CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
 LASC Approved 03-04                           AND STATEMENT OF LOCATION                                                   Page 4 of 4
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 5        Fax (213) 489-0552
                                                                          By              Deputy
 6 Attorneys for Plaintiff,
          David Hanna, an individual
 7
 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                   FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT
10
11         DAVID HANNA, an individual                Case No UST CV06) ei96
12                                                   COMPLAINT FOR DAMAGES AND
                                                     DEMAND FOR JURY TRIAL
13                      Plaintiff,
14         VS.                                       CAUSES OF ACTION FOR:
                                                     1.   BREACH OF FIDUCIARY DUTY
15                                                   2.   BREACH OF THE COVENANT OF
16                                                        GOOD FAITH AND FAIR DEALING
           SIERRA NETWORK, INC., a corporation;
                                                     3. UNFAIR AND DECEPTIVE
          AL FAKHER HOLDING TOBACCO                       BUSINESS PRACTICES IN
17        AND TRADING CO., a business of                  VIOLATION OF CALIFORNIA
18        unknown form; AL FAKHER HOLDING                 BUSINESS AND PROFESSIONS
          USA, INC., a California corporation;            CODE SECTION 17200, et seq.
19        PIONEER VENTURE GROUP, LTD., a             4. VIOLATION OF CALIFORNIA
          company limited by shares; EMIL                 CORPORATIONS CODE § 25401
20        HAKIM, an individual; EHAB ATALLA,
          an individual; and DOES 1-250, inclusive
                                                     s. FRAUD
21                                                   6. VIOLATION OF RULE 10b-5 OF
                                                          SECURITIES AND EXCHANGE ACT
22                     Defendants.                        OF 1934
                                                     7.   NEGLIGENCE
23                                                   8. CONSPIRACY
24                                                   9. COMMON COUNTS
                                                     10. CONSTRUCTIONAL FRAUD
25                                                   11. INTENTIONAL
                                                          MISREPRESENTATION
26                                                   12. NEGLIGENT
                                                          MISREPRESENTATION; and
27
                                                     13, RESCISSION OF CONTRACTS
28
                                                     1
                          COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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                                                        I.
                                                  INTRODUCTION
 2
 3            This Complaint for damages and declaratory relief by Plaintiff DAVID HANNA

 4    (hereinafter "Plaintiff' or "Hanna") against Defendants SIERRA NETWORK, INC., a

 5    California corporation; EMIL HAKIM, an individual; EHAB ATALLA, an individual; AL
 6
      FAKHER HOLDING TOBACCO TRADING AND AGENCIES, LLC., a Jordanian limited
 7
      liability company; PIONEER VENTURE GROUP, LTD., a United Arab Emirates company
 8
      limited by shares; AL FAICHER HOLDING USA, INC., a California corporation; and DOES
 9
      1-250, arises out of the August 2017 redemption of Plaintiff's shares in the company at an
10
11    unfairly low value and under duplicitous circumstances. Plaintiff, upon information and belief

12    and the investigation of his counsel of record, Ivie, McNeill & Wyatt, APLC, hereby alleges as
13    follows:
14
15                                         JURISDICTION AND VENUE

16            1,     This Court has subject matter jurisdiction in this action pursuant to 28 U.S.C. §§
17    1331, 1332, and 1367. The Court has original jurisdiction pursuant to 28 U.S.C. § 1331 because
18
      Plaintiff asserts claims that arise under the laws of the United States, namely, 17 C.F.R.
19
      §240.10b-5. The Court has supplemental jurisdiction over Plaintiffs state law claims because
20
      the claims are so related to Plaintiffs federal-question claim that they form the same case and/or
21
22    controversy.

23           2.      The Court also has subject matter jurisdiction in this action pursuant to 28 U.S.C.

24    §1332(a)(2) because Defendant Al Falcher Holding Tobacco Trading and Agencies, LLC;
25    Pioneer Venture Group, Ltd. are citizens of foreign states and more than $75,000.00 is in
26
      controversy.
27
             3.      The Court has specific personal jurisdiction over the parties because each has
28
                                                       2
                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1     sufficient contacts with the State of Califorda and has committed tortious acts in the County of
  2       Los Angeles in California or directed to California. Additionally, the damage suffered by
  3
          Plaintiff occurred in. California.
 4
                  4.       This Court also has specific personal jurisdiction over Plaintiff, Sierra Network,
 5
          Inc., Emil Hakim and Ehab Atalla because the parties expressly consented to the exclusive
 6
 7 jurisdiction of the courts of the State of California. On February 25, 2017, Plaintiff entered into
 8        an agreement with Emil Hakim and Ehab Atalla wherein the parties consented to the exclusive
 9 jurisdiction of the Superior court of California for the County of Los Angeles to enforce the laws
10
          of the United States and State of California for any dispute involving the agreement. On August
11
          31, 2017, Plaintiff and Sierra Network, Inc. entered into a "Shareholder Confirmation"
12
          agreement wherein the parties agreed that the Agreement would be governed by and construed
13
          and enforced in accordance with the laws of the State of California.
14
15                5.       Accordingly, this Court is the proper venue for this action.

16
                                                            PARTIES
17
18                6.       Plaintiff David Hanna is an adult individual residing in Los Angeles County, State

19        of California.

20                7.       Defendant Sierra Network, Inc., is a California corporation, with its principal
21        place of business at 14931 Gwenchris Court, Paramount, California 90723. At the pertinent
22
          times mentioned in this Complaint, Defendant Emil Hakim, an individual, was the President,
23
          director and a majority shareholder of Sierra Network, Inc. Upon information and belief, Hakim
24
          was an adult individual residing in Los Angeles County, State of California. At the pertinent
25
26        times mentioned in this Complaint, Defendant Ehab Atalla, an individual, was the Chief

27 Financial Officer, director and a majority shareholder of Sierra Network, Inc. Upon information
28        and belief, Atalla was an adult individual residing in Los Angeles County, State of California.
                                                             3
                              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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  1           8.      Defendant Al Fakher Holding .Trading Tobacco and Agencies, LLC, is and was at
 2 all times mentioned herein, a limited liability company which conducted business in California.
 3
   Defendant Pioneer Venture Group Ltd. is a company limited by shares with its principal place of
 4
   business in Dubai, United Arab Emirates, which is a wholly owned subsidiary of Defendant Al
 5
   Fakher Holding Trading Tobacco and Agencies, LLC.
 6
 7         9.     Defendant Al Fakher Holding USA, Inc. is a California corporation with its

 8 principal place of business at 14931 Gwenchris Court, Paramount CA 90723. Upon information
 9 and belief, Pioneer Venture Group Ltd. was the entity which created Al Falcher Holding, USA,
10 Inc. for the purpose of Al Fakher's acquisition of Defendant Sierra Network, Inc.
11
            10. The true names and capacities, whether individual, corporate, associational or
12
   otherwise of DOES 1 through 250, inclusive, are unknown to Plaintiff David Hanna at this time,
13
   who, therefore sues said Defendants by such fictitious names, and when their true names and/or
14
15 capacities are ascertained, Plaintiff will seek leave of Court to amend this Complaint
16 accordingly. Plaintiff is informed and believes, and upon such information and belief, alleges
17 that each of the Defendants designated herein, including DOES 1 through 250, is responsible in
18
   some manner and liable herein by reason of negligence, breaches, misrepresentations, omissions
19
   to act and other actionable conduct, and that such conduct was a substantial factor in causing the
20
   injuries and damages to Plaintiff as hereinafter alleged.
21
22                                                       Iv.
                                          GENERAL ALLEGATIONS
23
              11.    Al Falcher is one of the most well-known leading tobacco companies in the world,
24
       offering a broad range of top-tier quality shisha tobaccos, hookah tobaccos and non-tobacco
25
26 molasses around the globe. Al Fakher's product notoriety and market strength are a result of
27 targeted business efforts to expand the company and dominate the sales and distribution markets.
28            12.    The Jordanian public shareholding company Al-Eqbal Investment Co. is at the top
                                                      4
                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1    of Al Fakher's corporate chain with a myi-iad of subsidiaries under its umbrella, including
 2        operations companies, manufacturing companies and investment companies.
 3
                   13.       In 2017, Sierra Network, Inc. ("Sierra Network") was the only authorized
 4
          distributor of Al Falcher's product in the United States. The companies entered into an exclusive
 5
          distribution agreement where Sierra Network imported the products wholesale from Al Falcher
 6
 7        and then supplied the products to businesses across the United States.

 8                14.        Sierra Network, Inc. was incorporated in the State of California in 2004 by Emil

 9        Hakim and Ehab Atalla ("Director Defendants") as the sole members of the company.
10
          According to the Certificate of Amendment of Articles of Incorporation on file with the
11
          California Secretary of State, Sierra Network has only one class of common stock with 1000
12
          shares in total.
13
                  15.        Pursuant to a Shareholder's Agreement dated October 16, 2009, Plaintiff David
14
15        Hanna purchased 125 shares of Sierra Network stock in exchange for cash and services. In total,

16        Sierra Network had four shareholders. The entirety of Sierra Network's stock was distributed
17        among the shareholders as follows:
18
                                 Shareholder                Number of                 Ownership
19
                                                          Shares                   Percentage
20
                                  Emil Hakim                375 Shares                  37.5%
21
                                  Ehab Atalla               375 Shares                  37.5%
22
                                 David Hanna                125 Shares                  12.5%
23
                                 Sherif Atall a             125 Shares                  12.5%
24
                  16.        At all relevant times, Emil Hakim was the President and CEO of Sierra Network
25
          and Ehab Atalla was Chief Financial Officer. Upon information and belief, Emil Hakim and
26
          Ehab Atalla were the sole directors, officers, and majority shareholders of Sierra Network.
27
28        Sherif Atalla and Plaintiff David Hanna were minority shareholders.

                                                             5
                                 COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I            17.     Al Eqbal Investment Co. released a memo on July 28, 2017 concerning Al
 2 Fakher's plan to gain majority control over its distribution markets. Upon information and
 3
   belief, according to this memo and also according to Al Eqbal Investment Co.'s December 31st
 4
   2017 Financial Statement and Audit Report, on July 26, 2017 the company (through its
 5
   subsidiary, Defendant Al Falcher Holding for Tobacco Trading and Agencies, LLC, herein "Al
 6
 7 Fakher Holding TTA") purchased the rights to distribute its own product from many of the
 8 distribution companies it utilized in 53 countries for a total price of $187.5 Million U.S. Dollars.
 9                18.    Additionally, the July 28, 2017 memo stated that subsidiary Al Falcher Holding
10
          TTA was in the process of finalizing negotiations for the acquisition of a distribution company
11
          responsible for 10% of Al Fakher's total distribution activity for an anticipated buyout price of
12
          $55 Million U.S. Dollars.
13
14                19.    Al Eqbal Investment Co.'s December 30, 2017 Financial Statement and Audit

15 Report showed only one more acquisition of a distribution company              in the year of 2017 besides

16 the July 26, 2017 distribution rights acquisition: Sierra Network, Inc.
17               20.     Plaintiff is informed and believes, and upon such belief alleges that at least as of
18
          the time of Al Eqbal Investment Co.'s July 28, 2017 memo, majority shareholders and directors
19
          of Sierra Network Defendant Emil Hakim and Defendant Ehab Atalla had been engaging in
20
          negotiations with Defendant Al Fakher Holding TTA for the sale of Sierra Network.
21
22               21.     Director Defendants informed Plaintiff of their intent to sell the company to Al

23        Fakher and expressed their desire to redeem all of Plaintiffs shares in Sierra Network prior to
24 the sale. Plaintiff agreed.
25               22.     On August 1, 2017, in contemplation and anticipation of Sierra Network's
26
          potential sale, Director Defendants presented to Plaintiff a Shareholder Agreement Addendum
27
          which changed the way Sierra Network's stock value would be calculated. According to the
28
                                                           6
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1       Addendum, the value of Plaintiff's shires:
  2                 "will be equal to the book value of the Assets less all Liabilities, and not
  3 including any goodwill, fair market value, or business value in the Company, or
             any other compensation (which solely belongs fifty-percent (50%) to Emil Hakim
  4 and fifty-percent (50%) to Ehab Atalla)...            which is the Closing Net Book Value of
  5 the Company on August 1, 2017."
  6                 23,     The August 1, 2017 Addendum also changed the boundaries of the release
 7
             language. The release clause in the previous Shareholder Agreement clause stated:
  8
           "In the event of the Company's Liquidation, each Party hereby releases one
 9 another and the Company from all known and unknown claims related to the
10 operations of the Company, the Share's Holder Agreement (sic), and the Sell and
   Buy Agreement, exclusive of any obligations arising under the terms of this
11 Agreement."
12        However, the August 1, 2017 release required:
13        "David Hanna and Sherif Atalla hereby release Emil Hakim, Ehab Atalla
   and the Company from all known and unknown claims related to the operations of
14 the Company, the Liquidations, and all valuation of their respective shares in the
15 Company, exclusive of any obligations arising under the terms of this Addendum."
16                  24.    According to the Closing Statement attached as Exhibit A to the Addendum, as of
17 August 1, 2017 Sierra Network, Inc. was valued to be worth $12,693,151.03 U.S. Dollars.
18 According to this valuation provided to Plaintiff, the fair value of Plaintiff's common stock was
19
   equal to 12.5% of this number—$2,108,553.34 U.S. Dollars.
20
           25. Upon information and belief, Plaintiff believes and hereby alleges that Director
21
   Defendants knew the companies were negotiating around a significantly higher sale price than
         •

22
23 the $12.7 Million Dollar valuation they provided to Plaintiff (around the $55 Million Dollar price
24 tag mentioned in Al Eqbal's July 28, 2017 memo).
25                  26.    Director Defendants breached their fiduciary obligations by engaging in gross
26 dishonesty and fraud by purposely concealing the actual value of Sierra Network in order to
27
   mislead Plaintiff and to induce Plaintiff into selling his stock to Director Defendants at a bargain
28
                                                             7
                               COMPLAINT FOR DAMAGES AND DEMAND FOR. JURY TRIAL
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  1     price. Director Defendants took advantage Of their secret knowledge that, at the time Plaintiff
  2 sold his stock, they were certain Sierra Network would be sold to Al Fetcher at a significantly
  3
    higher price.
  4
            27. Upon information and belief, Director Defendants continued to negotiate a much
  5
    higher sale price than the valuation they told Plaintiff, and simultaneously continued to deceive
  6
  7 Plaintiff into entering into additional contractual agreements that Plaintiff had no way of
  8 knowing were drafted to protect Director Defendants' anticipated windfall.
 9             28.    On August 31, 2017, Director Defendants presented Plaintiff with a Shareholder
10 Confirmation Agreement ("Shareholder Confirmation"). According to the Shareholder
11
   Confirmation, Plaintiff was to receive $2,108,553.34 in exchange for all of his stock in Sierra
12
   Network, "which the Parties acknowledge and agree is the value of Hanna's 12.5% equity
13
14 interest in Sierraas (sic)."
15            29.     The Shareholder Confirmation expanded the release language once again. Upon
16 information and belief, Director Defendants improperly utilized the release clause to induce
 17 Plaintiff into unknowingly waiving his right to seek any remedy from Director Defendants'
18
    willful, intentional and calculated misconduct. The release paragraph stated:
19
             Hanna hereby releases Al-Eqbal Investment Co., (PLC) a Jordanian
20 company, and all "Al Fetcher" entities, including, but not limited to Al Fetcher
21 Tobacco Factory F.Z.E., Al Fakher International Co., and Al Faker Tobacco and
    Trading Co., from all known and unknown, past, preset, or future claims related to
22 the operations of Sierra, and Hanna's employment by or position at Sierra,
23 exclusive of any obligations arising under the terms of this Confirmation.
    Additionally, Hanna further releases Sierra, Emil Hakim, and Ehab Atalla from all
24 known and unknown past, present and future claims related to the operations of
25 Sierra Network, Inc., and Hanna's employment by or position at Sierra Network,
    Inc., exclusive of any obligation arising under the terms of this Confirmation.
26
            30. On September 24, 2017 1 Al Fakher Holding TTA's subsidiary Pioneer Venture
27
    Group, Co. created "Al Fetcher Holding, USA, Inc." in the State of California for the purpose of
28
                                                       8
                          COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1   acquiring Sierra Network.
  2              31.    On October 23, 2017, Director Defendants asked Plaintiff to execute a "Form of
  3
         Acknowledgement and Release" in favor of Al Falc.her Holding, USA, Inc. and Sierra Network.
  4
         The deceitful release language expanded again to prohibit any and all claims that Plaintiff:
  5
           "may now own or hold, or have at any time prior to the date hereof may
  6
   have owned or held, or may at any time own or hold by reason of any matter or
 7 thing arising from any cause or event whatsoever that occurred on or prior to the
   date hereof, including but not limited to those related to, or arising from, Hanna's
 8
   ownership of the Shares or sale of the Shares prior to the consummation of the
 9 transaction with Buyer [Al Fakher Holding, USA, Inc]."
10              32.     The Agreement also included the following clause:
11         "Hanna assumes all risk of mistake. If Hanna should subsequently
   discover that any fact relied upon by him in entering into this Agreement was not
12
   true or that any fact was not known or that his understanding of the facts or the
13 law was incorrect, such party shall not be entitled to any relief in connection
   herewith. Notwithstanding the generality of the foregoing, no party shall have
14
   any right or claim to set aside or rescind this Agreement "
15              33.     This contract language, which is voidable by public policy, was slightly expanded
16
         in a November 10, 2017 "Acknowledgement of Release" entered into by Plaintiff, Sierra
17
         Network, Emil Hakim and Ehab Atalla. The Acknowledgement of Release required Plaintiff to:
18
               "fully and forever release, acquit and discharge Sierra, Al Fakher Holdings
19
         USA, Inc., Hakim, Atalla, and each of their affiliates.., from any liabilities.., of
20 any form whatsoever, of whatever kind or nature in law, equity or otherwise...
   including but not limited to those related to, or arising from, Hanna's ownership
21
         of the Shares or sale of the Shares prior to the consummation of Sierra, Hakim
22       and/or Atalla's transaction with Al Fakher Holding USA, Inc."
23              34.     Upon information and belief, Plaintiff believes and alleges that Director
24 Defendants knew of the true position of the company yet purposely misled Plaintiff about its
25 potential purchase price and valuation in order to improperly redeem Plaintiff's shares at a false
26
   low price immediately prior to a much more valuable sale of the company.
27
           35. Throughout Director Defendants' negotiations with Al Fakher on the one hand
28
                                                          9
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1     and redemption transaction with Plaintiff on the other hand, Director Defendants repeatedly
 2        misrepresented to Plaintiff that Sierra Network's valuation was only $12.7 Million U.S. Dollars.
 3
                   36.     On December 4, 2017, three months after Plaintiff sold his 12.5% equity interest
 4
          for $2.1 Million U.S. Dollars, Al Fakher Holdings USA, Inc. acquired Sierra Network from the
 5
          only remaining shareholders, Emil HaIdm and Ehab Atalla, for a purchase price of $38.6 Million
 6
 7        U.S. Dollars.

 8                37.      In ignorance of the falsity of Director Defendants' misleading statements and
 9        their failure to disclose material facts, Plaintiff relied thereon to his detriment in selling his
10
          shares of Sierra Network stock at a price which was not fair.
11
                  38.     As a direct and proximate result of Defendants' acts and omissions, Plaintiff has
12
          been damaged in an amount in excess of the jurisdictional requirements of this Court, to be
13
          established in accordance with the proof at trial.
14
15                        FIRST CAUSE OF ACTION FOR BREACH OF FIDUCIARY DUTY
                                (Against Director Defendants and DOES 1.250, inclusive)
16
                  39.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
17
18        through 38, above.

19                40.     As directors, officers, and majority shareholders of Sierra Network, Inc.,

20        Defendants Emil Hakim and Ehab Atalla ("Director Defendants") owed a fiduciary duty to
21        Plaintiff as a minority shareholder of the company and thus were required to refrain from
22
          abusing their positions of directors, officers, and majority shareholders in a manner that favors
23
          Director Defendants' personal interests at the expense of Plaintiff. Director Defendants have a
24
          duty to refrain from activity orchestrated to benefit themselves at the expense of the Plaintiff.
25
26                41.     Director Defendants, in performing and omitting to perform the acts hereinabove

27        alleged, had a confidential and fiduciary relationship whereby Director Defendants undertook

28        actions for the benefit of Plaintiff, including but not limited to, the obligation to render a full and
                                                             10
                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1    fair disclosure to Plaintiff of all the facts that materially affects the rights and interests of a
     2
          fellow shareholder such as Plaintiff.
     3
                  42.      Director Defendants owed Plaintiff the highest duties of loyalty, honesty, fidelity,
 4
         trust, candor, disclosure and due care in their fiduciary obligations, as follows:
 5
                 i)       To act faithfully towards Plaintiff and his interests;
 6
 7               ii)      To faithfully disclose all potential and existing conflicts of interest; —

 8               iii)     To faithfully and diligently keep Plaintiff informed of all material developments
 9       that affected his interests; and
10
                 iv)      To refrain from intentional dishonesty.
11
                 43.      As set forth above, Director Defendants breached their obligations and fiduciary
12
         duties of care, loyalty, reasonable inquiry, oversight, good faith and supervision, by:
13
                 1)       Materially misleading Plaintiff about the fair value of Sierra Network, Inc. in the
14
15       upcoming sale;

16               ii)      Redeeming Plaintiffs shares at an unfairly low value;
17               iii)    Redeeming Plaintiffs shares without disclosing the fair value of Sierra Network,
18
         Inc. as of the date of redemption;
19
                 iv)     Failing to disclose to Plaintiff, a minority shareholder, information affecting the

         value of Plaintiffs shares after Plaintiff agrees to sell the shares but before the sale took place;
21
22               v)      Redeeming Plaintiffs shares without disclosing their inherent conflict of interest

23       arising from their capacities as officers, directors, majority shareholders, and insiders;

24               vi)     Failing to disclose appraisals of share value and profit projection to Plaintiff in
25       connection with the sale of Sierra Network, Inc.;
26
                 vii)    Seeking multiple releases from liability without first providing a full and fair
27
         statement of the nature and effects of their acts;
28
                                                              11
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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               viii) Engaging in intentional' dishonesty and fraud by disseminating false information
  2 and making misleading omissions; and
  3
            ix)    Other acts and omissions which may be discovered during the course of our
  4
    investigation.
  5
            44. In failing to disclose material facts and committing the breaches of fiduciary
  6
  7 duties and obligations as set forth herein, Director Defendants acted intentionally, willfully,
  8 maliciously, oppressively, fraudulently, and/or in conscious disregard of the rights and interests
 9 of Plaintiff.
10         45.       As a direct and proximate result of Director Defendants' breach of their fiduciary
11
      duties, Plaintiff has suffered economic and non-economic losses in an amount according to
12
      proof.
13
                SECOND CAUSE OF ACTION FOR BREACH OF IMPLIED COVENANT OF
14
                             GOOD FAITH AND FAIR DEALING
15                      (Against Director Defendants and DOES 1-250, inclusive)

16             46.   Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
17 through 45, above.
18
           47. As discussed above, on various dates between November 1, 2007 arid November
19
   10, 2017, Plaintiff entered into oral and written contracts with Emil Hakim, Ehab Atalla and/or
20
   Sierra Network, Inc. The written contracts were binding on the parties' heirs, successors, and
21
22 assigns. Sierra Network, Inc. was purchased by Fakher Holding, USA, Inc. which owns 100% of
23 Sierra Network's stock.
24             48.   The written contracts between Plaintiff and Defendants contained an implied
25 covenant of good faith and fair dealing that obligated Defendants to perform their duties and
26
   obligations competently, professionally, and with due diligence and to refrain from doing any act
27
   which would prevent or impede Plaintiff from obtaining the benefit of his bargain.
28
                                                      12
                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1            49.     As a direct and proximate result of Defendants' breaches of the covenant, Plaintiff
     2
           has incurred special, general, and consequential damages in amount to be established at trial in
     3
           accordance with the proof.
 4
                  THIRD CAUSE OF ACTION FOR UNFAIR AND DECEPTIVE BUSINESS
  5        PRACTICES IN VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONS CODE
                                      SECTION 17200, et seq.
 6
                            (Against All Defendants and DOES 1-250, inclusive)
 7
                  50.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
 8
          through 49, above.
 9
                  51.     The Unfair Competition Law defines unfair business competition to include any
10
11        "unlawful, unfair or fraudulent" act or practice, as well as any "unfair, deceptive, untrue or

12        misleading" advertising.
13                52.    A business act or practice is "unfair" under the Unfair Competition Law if the
14
          reasons, justifications and motives of the alleged wrongdoer are outweighed by the gravity of the
15
          harm to the alleged victims.
16
                  53.    Defendants have violated the unfair prong of the Unfair Competition Law by
17
18        systematically failing to disclose to Plaintiff material information concerning the actual value of

19 his shares prior to redemption. Director Defendants engaged in purposeful conduct with the
20 intention of giving Plaintiff an unfairly low price for his shares in order to obtain a significantly
21        higher price for them in the final sale of the company.
22
                 54.      These acts and practices are unfair because they rob minority shareholders of
23
          trust in the directors and the confidence in the belief that majority shareholders have every
24
          stockholder's best interest in mind when acting.
25
26               55.     The gravity of the harm to members of the class resulting from these unfair acts

27        and practices outweighs any conceivable reasons, justifications or motives of Defendants for

28        engaging in such acts.
                                                             13
                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1          56.     Through their unfair acts and practices, Defendants have improperly obtained
 2 money from Plaintiff and similarly situated Class members.
 3
           57. As such, Plaintiff requests that this Court cause Defendants to restore this money
 4
   to Plaintiffs and all Class members, and to enjoin Defendants from continuing to violate the
 5
   Unfair Competition Law as alleged herein. Otherwise, Plaintiff may be irreparably harmed
 6
 7 and/or denied an effective and complete remedy if such an order is not granted.
 8                     FOURTH CAUSE OF ACTION FOR VIOLATION OF CALIFORNIA
                                    CORPORATIONS CODE b' 25401
 9                          (Against Director Defendants and DOES 1-250, inclusive)
10              58.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
11
         through 57, above.
12
                59.    Section 25401 of the California Corporations Code makes it unlawful for any
13
14 person to buy or offer to buy a security in this state by means of any written or oral
15 communication that includes an untrue statement of a material fact or omits to state a material
16 fact necessary to make the statements made, in the light of the circumstances under which the
17 statements were made, not misleading.
18
          60. In connection with Director Defendant's purchase of Plaintiff's shares as
19
   described herein, Defendants knowingly or with reckless disregard for the truth made various
20
   misleading statements of material facts and/or omissions of material facts necessary in order to
21
22 make the statements made, in light of the circumstances under which the statements were made,
23 not misleading.
24              61.    Director Defendants failed to disclose all facts known to them concerning the sale
25 of Sierra Network, Inc. and the valuation of Plaintiff's shares, which they had a fiduciary
26
   obligation to disclose to Plaintiff.
27
           62. The purpose and effect of Director Defendants' conduct was to cause the sale of
28
                                                          14
                              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1 Plaintiff's shares to be made under' circunistances which benefited Director Defendants but
  2 caused detriment to Plaintiff.
  3
             63. In ignorance of the falsity of the misleading statements and the failure of Director
  4
    Defendants to disclose material facts, Plaintiff relied thereon to his detriment in selling his shares
  5
    at a price which was not fair.
  6
  7          64. As a direct result of Director Defendants' wrongful conduct, Plaintiff has suffered
  8 economic and non-economic damages in an amount to be determined at trial.
 9                                  Mei II CAUSE OF ACTION FOR FRAUD
                              (Against Director Defendants and DOES 1-250, inclusive)
10
11             65.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
12 through 64, above.
13             66.    Director Defendants owed a fiduciary duty of candor to Plaintiff. By virtue of
14
       Plaintiff having placed his trust and confidence in Director Defendants' fidelity and integrity and
15
       entrusting Director Defendants to act fairly, a confidential relationship existed at all relevant
16
       times between Plaintiff and Director Defendants. As fiduciaries, Director Defendants had a duty
17
18 to make full disclosure to Plaintiff of all material facts in connection with the sale of his shares in
19 Sierra Network.
20            67.     Plaintiff in fact placed confidence and reliance on Director Defendants' various
21 misleading statements or material facts and/or omission of material facts in connection with
22
   Plaintiff's sale of his stock to Director Defendants.
23
           68. In ignorance of the falsity of the misleading statements and the failure of Director
24
   Defendants to disclose material facts, Plaintiff relied thereon to his detriment in signing multiple
25
26 sham contracts and selling his shares of company stock at a price which was unfair.
27            69.     As a result of Director Defendants' fraudulent actions, they gained an unjust
28 advantage over Plaintiff. Upon information and belief, Director Defendants engaged in the
                                                        15
                          COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1     conduct alleged herein with the intent to deceive and defraud Plaintiff into believing that his
 2         interests were being fully protected when in reality they were not.
 3
                   70.      As a direct, proximate and substantial cause and result of Director Defendants'
 4
           fraudulent conduct, Plaintiff has suffered injuries as set forth more fully herein and according to
 5
          proof at trial.
 6
 7                 71.      In failing to disclose material facts and committing the breaches of fiduciary

 8        duties and obligations as set forth herein, Director Defendants acted intentionally, willfully,
 9 maliciously, oppressively, fraudulently, and/or in conscious disregard of the rights and interests
10
          of Plaintiff. By reason thereof, Plaintiff is entitled to recover from Defendants punitive damages
11
          and exemplary damages in an amount sufficient to punish and make an example of Defendants
12
          pursuant to California Civil Code § 3294.
13
                  72.       As a result of Director Defendants' conduct alleged herein, Plaintiff is entitled to
14
15 unilateral rescission of each contract which Plaintiff entered into under mistake, fraud, duress
16        and/or undue influence exercised by or with the connivance on behalf of Director Defendants
17        pursuant to California Civil Code § 1689(b). Specifically, Plaintiff is entitled to rescission of the
18
          following Agreements:
19
                  i)        "Sierra Network, Inc. Shareholder Agreements Amendment," executed February
20
          25, 2017;
21
22                ii)       "Sierra Network, Inc. Shareholder Agreements Addendum," executed August 1,

23        2017;

24                iii)      "Shareholder Confirmation," executed August 31, 2017;
25                iv)       "Form of Acknowledgement and Release," executed October 23, 2017; and
26
                  v)        "Acknowledgement of Release," executed November 10, 2017.
27
28        1 /I

                                                              16
                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1                   SIXTH CAUSE OF ACTION FOR VIOLATION OF RULE 10b-S OF
                               SECURITIES AND EXCHANGE ACT OF 1934
  2
  3                                 (Against All Defendants and DOES 1-250, inclusive)

 4               73.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
 5 through 72, above.
 6               74.      Section 10(b) of the Securities Exchange Act of 1934 and SEC Rule 10b-5 make
 7
         it unlawful for any person, directly or indirectly, by the use of any means or instrumentality of
 8
         interstate commerce, or of the mails or of any facility of any national securities exchange to
 9
10 engage in any act or make any untrue statement/omission of a material fact in order defraud a
11 person in connection with the sale of any security.
12               75.     Upon information and belief, in connection with the purchase and sale of
13 Plaintiffs shares in Sierra Network, Inc. as described herein, Director Defendants knowingly
14
   caused certain documents to be mailed, and assertions to be made which included various
15
   misleading statements of material facts and/or omissions of material facts necessary in order to
16
   make the statements made, in light of the circumstances under which they were made, not
17
18 misleading.
19               76.     Director Defendants failed to disclose all facts known to them concerning their
20 purchase of Plaintiff's shares, which disclosure they were required to perform because of their
21       fiduciary duties owed to Plaintiff. The purpose and effect of Director Defendants' conduct was
22
         to cause Plaintiff to sell his stock at an unfair price which benefitted Director Defendants but
23
         caused detriment to Plaintiff.
24
                 77.    In ignorance of the deceptiveness of Director Defendants' conduct, Plaintiff did in
25
26 fact rely thereon to his detriment in selling his shares to Director Defendants at a price far below
27 what Director Defendants knew was the fair value.
28              78.     As a direct and proximate result of Director Defendants' conduct, Plaintiff has
                                                         17
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I    been damaged in an amount according to proof.
  2                               SEVENTH CAUSE OF ACTION FOR NEGLIGENCE
  3                                 (Against All Defendants and DOES 1 250, inclusive)
                                                                               -




  4               79.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
  5 through 78, above.
  6               80.     Defendants owed Plaintiff a duty of care by virtue of their position as directors,
  7
          officers, and majority shareholders of Sierra Network, Inc.
  8
                  81.     Defendants breached their duty of care in multiple ways, including, but not
 9
          limited to: breaching their duty of candor, breaching their duty to disclose material information,
10
11        breaching their duty to act in good faith in connection with enticing Plaintiff to enter into secretly

12 misleading contracts and in connection with the purchase and sale of Plaintiff's shares prior to
13 the sale of the entire company.
14
            82. As a direct and proximate result of Defendants' breach of fiduciary duties,
15
   Plaintiff has suffered economic and non-economic losses in an amount according to proof.
16
                             EIGHTH CAUSE OF ACTION FOR CONSPIRACY
17                            (Against All Defendants and DOES 1 250, inclusive)
                                                                               -




18
                 83.     Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
19
          through 82, above.
20
                 84.     Upon information and belief, Plaintiff believes and herein alleges that Al Falcher
21
22 Holding Tobacco and Trading Co., along with its subsidiaries Pioneer Venture Group, Ltd. and
23 Al Fakher Holding USA, Inc. (the "Al Fakher Defendants") were aware of and participated in
24 Director Defendants' plan to deceive Plaintiff out of a fair compensation for Plaintiffs shares in
25        Sierra Network, Inc. based on what Al Father Defendants knew or reasonably should have
26
          known was going to be the final purchase price for Sierra Network, Inc.
27
                 85.     The memo released by Al Eqbal Investment Co. on July 28, 2017 acknowledged a
28
                                                             18
                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I valuation of Sierra Network, Inc. at around $55 Million U.S. Dollars. Throughout the deal
  2 process, Plaintiff believes and herein alleges that Al Fakher Defendants and Director Defendants
  3
    conspired together to cause Plaintiff to execute amendments to the Shareholder Agreements
  4
    which would release Al Fakher Defendants from liability for the deceitful actions alleged herein
  5
       without Plaintiff having any reason to know the true nature of and reason for the amendments.
  6
  7            86.    Plaintiff alleges that Al Fakher Defendants agreed with Director Defendants and

       so intended the wrongful acts against Plaintiff alleged herein to be committed. Plaintiff further
  9 alleges that due to the relationship between the Director Defendants and Al Falcher Defendants,
10 the sale was not an arms-length transaction. Thus, based on the circumstances of the transaction,
11
   the nature of the acts done, the relationship between the defendants and the interests of the co-
12
   conspirators, Plaintiff believes defendants conspired to cause Plaintiff's rightful earnings to be
13
14 redirected to Director Defendants. In a further attempt to conceal the proper valuation of the
15     company, Plaintiff believes and herein alleges that Al Faldier Defendants falsely labeled the
16 additional amounts paid as "goodwill," after Director Defendants had Plaintiff agree in a
17     contractual amendment that he would not partake in.
18
              87.     As a direct and proximate result of Defendants' breach of fiduciary duties,
19
       Plaintiff has suffered economic and non-economic losses in an amount according to proof.
20
                             NINTH CAUSE OF ACTION FOR COMMON COUNTS
21                            (Against Director Defendants and DOES 1-250, inclusive)
22
              88.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
23
       through 87, above,
24
              89.    Plaintiff alleges that Director Defendants received money that rightfully belonged
25
26 to Plaintiff.
27            90.    Due to Director Defendants' dishonesty toward Plaintiff, Director Defendants
28 received Plaintiff's money and retained it. The money was never used for the benefit of Plaintiff.
                                                       19
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1            91.    Director Defendants still have'not given Plaintiff the money he is owed. Instead,
 2 Director Defendants attempted to shield themselves from paying what equity requires by
 3
   entering into deceitful contracts with Plaintiff. In equity and good conscious, the funds that
 4
   Director Defendants received for Plaintiff's 12.5% equity in Sierra Network, above and beyond
 5
   the funds already provided to Plaintiff, should be given to Plaintiff.
 6
 7                          TENTH CAUSE OF ACTION FOR CONSTRUCTIVE FRAUD
                               (Against Director Defendants and DOES 1-250, inclusive)
 8
                  92.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs I
 9
10 through 91, above.
11        93. Director Defendants were directors of Sierra Network, Inc. and therefore owed a
12 fiduciary duty to Plaintiff to provide complete and accurate information in connection with the
13 sale of his shares.
14
            94. Director Defendants breached this duty by failing to provide Plaintiff with
15
   complete and accurate information. Rather, the information Director Defendants gave to
16
   Plaintiff regarding the fair value of his shares was inaccurate and/or incomplete, which Director
17
18 Defendants knew or should have known was incorrect.
19               95.     Plaintiff reasonably relied on the information provided to him by Director
20 Defendants. Thus, Director Defendants' failure to disclose information misled Plaintiff to his
21        detriment.
22
                 96.     Had Director Defendants disclosed complete and accurate information, Plaintiff
23
          reasonably would have behaved differently. As a direct result of Director Defendants' conduct,
24
          Plaintiff suffered economic and non-economic harm.
25
26
27
28
                                                         20
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1                           ELEVENTH CAUSE OF ACTION FOR INTENTIONAL
                                              MISREPRESENTATION
  2                               (Against Director Defendants and DOES 1-250, inclusive)
  3
                 97.    Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
  4
          through 96, above.
                 98.    At the time Director Defendants made false misrepresentations to Plaintiff
  6
  7 concerning the valuation of his shares, Director Defendants knew that the shares were worth a
  8 much higher value based on their negotiations with Al Falcher.
 9               99.    However, in an effort to unfairly usurp the profits owed to Plaintiff, Director
10 Defendants made such false representations to Plaintiff with the express intent of deceiving him
11
   and inducing his reliance upon the statements and low valuation of Sierra Network.
12
          100. Plaintiff justifiably relied on Director Defendants' intentional misrepresentations,
13
14 which caused him economic and non-economic injury.
15                TWELFTH CAUSE OF ACTION FOR NEGLIGENT MISREPRESENTATION
                          (Against Director Defendants and DOES 1-250, inclusive)
16
                 101. Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1
17
18 through 100, above.
19               102. Director Defendants represented to Plaintiff that his shares were worth only
20 around $2 Million 'U.S. Dollars. This representation was, in fact, not true. Director Defendants
21 had no reasonable grounds for believing this representation was true when they continuously
22
   made it to Plaintiff.
23
           103. Director Defendants made said misrepresentations to Plaintiff with the intention
24
   that he rely on them. Plaintiff did, in fact, reasonably rely on Director Defendants'
25
26 misrepresentations.
27              104. As a direct and proximate result of Plaintiffs reliance on Director Defendants'
28 representations, Plaintiff suffered harm.
                                                          21
                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     I               THIRTEENTH CAUSE OF ACTION FOR RESCISSION OF CONTRACTS
                            (Against Director Defendants and DOES 1 250, inclusive)
                                                                              -

  2
  3               105. Plaintiff realleges and incorporates herein as if set forth in full, paragraphs 1

  4 through 104, above.
  5               106. At the time Plaintiff entered into the Amendments to Shareholder Agreements, he
  6 had no reason to know of Director Defendants' fraudulent intent to deceive and harm Plaintiff.
  7
    In actuality, through a series of contractual agreements and amendments to agreements, Director
          Defendants were, in essence, attempting to build a protective shield around the profits they knew
  9
10 they would receive which rightfully belonged to Plaintiff.
11        107. Based on the knowledge and information that Plaintiff now knows, which he had
12 no reasonably way of knowing of at the time of contracting, the contracts were executed under
13 fraud, mistake of fact, and contained unconscionable terms.
14
           108. Equity and justice require rescission of each contract and amendment in order to
15
   allow Plaintiff an avenue to seek a fair remedy for defendants' transgressions against him. Had
16
   Director Defendants fulfilled their fiduciary duties and disclosed all material facts known to
17
18 them at the time of entering into the contracts with Plaintiff Plaintiff would have likely acted
19 differently and not entered into the agreements.
20               109. Due to defendants' conduct, justice and fairness require the contracts to be
21 rescinded. The language in the contracts concerning releasing defendants from liability is
22
   unconscionable. The language in the contracts concerning the proper and fair valuation of
23
   Plaintiffs shares in the company is unconscionable. The language in the contracts stating that
24
   Plaintiff has no right to profits the company receives under the guise of "goodwill" is a sham and
25
26 unconscionable.
27               110. As a direct and proximate result of Director Defendants' extensive misdeeds,
28 Plaintiff has suffered economic and non-economic losses which require rescission of the
                                                          22
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1    contracts.
 2                                                               V.
 3                                                  PRAYER FOR RELIEF

 4                WHEREFORE, Plaintiff prays for judgment against all Defendants, and each of them,
 5 as to all causes of action, as follows:
 6                1.     Plaintiff demands a jury trial as to the issues so triable;
 7
                  2.     Special damages according to proof;
 8
                  3.     General damages according to proof;
 9
                 4.      Rescission of contracts;
10
11                5.     Restitution and disgorgement of all benefits and other undue compensation

12 obtained by Defendants at the expense of Plaintiff;
13               6.      Attorneys' fees and costs pursuant to Caltfornia Civil Code § 1717;
14
                 7.      Declaratory and punitive damages;
15
                 8.      Equitable and/or injunctive relief as permitted by law and equity including
16
          restitution, attaching, impounding, imposing a constructive trust on, or otherwise restricting
17
18 Defendants' assets so as to ensure that Plaintiff recover any judgments obtained against the
19 Defendants for their misdeeds; and
20               9.      Such further relief as the Court deems just and proper.
21
22 Dated: November 28, 2018                                      IVI       c LL & WYATT

23
                                                         By:
24                                                               RO EY D GGS, ESQ.
                                                                 CHAENA B. DADE, ESQ.
25                                                               Attorneys for Plaintiffs,
26                                                               DAVID HANNA

27
28
                                                            23
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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     1                                  DEMAND FOR JURY TRIAL
 2
                 Plaintiff DAVID HANNA hereby demands a jury trial on all causes of action in the
 3
          above-referenced matter.
 4

 5
          Dated: November 28, 2018                          IVI c ILL & WYATT
 6
 7
                                                     By:
 8                                                          RO EY . D GGS, ESQ.
                                                            CHAENA B. DADE, ESQ.
                                                            Attorneys for Plaintiffs,
                                                            DAVID HANNA
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                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
